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                 EXHIBIT A
       Case No. 21-CV-0817-TSZ

          (Exhibit A to Mann Declaration)
  Demand ForCase 2:21-cv-00811-TSZ
             Arbitration  - vs. DavidDocument
                                     Schaefer 123-2 Filed 05/01/23 Page 2 of 68
                                              #5160000075

  Submisssion Date: 2/10/2022



  1. JAMS Local Center

  JAMS resolution center      Arbitration Rules
  Seattle, Washington         JAMS Comprehensive Arbitration Rules and Procedures


  Filing & submission fees

  Standard Arbitration


     If the parties’ agreement calls for Respondent to pay the full filing fee, no payment is required at this time.




   Claimant(s)                                                 Claimant Representatives

                                                               A. William Rava
                                                               Perkins Coie LLP
   1.Bungie, Inc.                                              29948WA
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                                                               206-359-8000
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                                                               Perkins Coie LLP
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                                                               206-359-8000
                                                               jdini@perkinscoie.com




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              Case 2:21-cv-00811-TSZ Document Respondent
   Respondent(s)                              123-2 FiledRepresentatives
                                                          05/01/23 Page 3 of 68

                                              A. Philip Mann
                                              Mann Law Group PLLC
   1. David Schaefer                          28860WA
   5973 Jacques Drive                         403 Madison Ave N. Ste. 240
   95123 San Jose CA                          98110 Bainbridge WA
                                              206-436-0900
                                              phil@mannlawgroup.com


                                              A. Philip Mann
                                              Mann Law Group PLLC
   2.Aimjunkies.com                           28860WA
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   85037 Phoeniz                              98110 Bainbridge WA
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                                              A. Philip Mann
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   3.Phoenix Digital Group LLC                28860WA
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   97219 Portland                             98110 Bainbridge WA
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                                              A. Philip Mann
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   6. James May                               28860WA
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   45439 Dayton                               98110 Bainbridge WA
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                                              phil@mannlawgroup.com




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  4. Nature of Dispute

  See attached Demand for Arbitration and incorporated Complaint.

        2022-2-10 Claims/Responses/Counterclaims




  5. Agreement

  See Bungie's Limited Software License Agreement at pages 8-9.




  6. Consumer & Employment

     NO, this is not a CONSUMER ARBITRATION




  7. Submission information

  Respondent Name Christian
  Address 1201 Third Avenue, Suite 4900
  Zip Code 98101
  City Seattle
  State WA
  Phone 206-359-3315
  E-mail cmarcelo@perkinscoie.com
      I Agree to the Terms of Service




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 6

 7                            IN ARBITRATION PROCEEDINGS BEFORE

 8                                                JAMS

 9
     BUNGIE, INC., a Delaware corporation,            No. __________
10
                            Claimant,                 DEMAND FOR ARBITRATION
11
              v.
12
     AIMJUNKIES.COM, a business of
13   unknown classification; PHOENIX
     DIGITAL GROUP LLC, an Arizona
14
     limited liability company; JEFFREY
15   CONWAY, an individual; DAVID
     SCHAEFER, an individual; JORDAN
16   GREEN, an individual; and JAMES MAY,
     an individual,
17
                            Respondents.
18
19                                   PRELIMINARY STATEMENT
20            On June 15, 2021, Claimant Bungie, Inc. (“Claimant” or “Bungie”) filed a complaint in
21   the District Court for the Western District of Washington—Bungie, Inc. v. Aimjunkies.com, et
22   al., No. 2:21-cv-0811 TSZ—against Respondents asserting claims for copyright infringement
23   (17 U.S.C. § 501, et seq.) (Count One), trademark infringement (15 U.S.C. § 1114) (Count Two),
24   false designations of origin (15 U.S.C. § 1125(a)) (Count Three), circumvention of technological
25   measures (17 U.S.C. § 1201(a)) (Count Four), trafficking in circumvention technology (17
26   U.S.C. §§ 1201(a)-(b)) (Count Five), breach of contract (Count Six), tortious interference (Count

      DEMAND FOR ARBITRATION                                                  Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
      (No. __________) –1
                                                                          Seattle, WA 98101-3099
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 1   Seven), violation of the Washington Consumer Protection Act (RCW 1986.020) (Count Eight),
 2   and unjust enrichment (Count Nine). Bungie’s Complaint is attached as Exhibit A.
 3            On January 10, 2022, Respondents filed a Motion to Dismiss and/or Refer to Mandatory
 4   Arbitration (the “Motion”). In its Motion, Respondents asserted that all claims except Count
 5   One (copyright infringement) and Count Two (false designations of origin) were subject to the
 6   mandatory arbitration clause provided in Bungie’s Limited Software License Agreement
 7   (“LSLA”). A copy of Bungie’s LSLA is attached as Exhibit B.
 8                                               PARTIES
 9            1.     Bungie is a Delaware corporation with its principal place of business at 550 106th
10   Avenue NE, Suite 207, Bellevue, Washington, 98004-5088.
11            2.     Respondent Aimjunkies.com is a business of unknown classification that
12   advertises, markets and sells Defendants’ cheats.
13            3.     Respondent Phoenix Digital Group LLC (“Phoenix Digital”) is an Arizona
14   Limited Liability Company with a mailing address of 8837 W. Vernon, Phoenix, Arizona,
15   85037.
16            4.     Respondent Jeffrey Conway is a member of Phoenix Digital with a mailing
17   address of 8837 W. Vernon, Phoenix, Arizona, 85037.
18            5.     Respondent David Schaefer is a member of Phoenix Digital with a mailing
19   address of 5973 Jacques Drive, San Jose, California, 95123.
20            6.     Respondent Jordan Green is a member of Phoenix Digital with a mailing address
21   of 2839 SW Dickinson Street, Portland, Oregon, 97219.
22            7.     Respondent James May is an individual residing at 2217 Polo Park Drive, Dayton,
23   Ohio, 45439.
24
                                     JURISDICTION AND VENUE
25            8.     JAMS has jurisdiction over this action because the claims alleged herein are
26   subject to the arbitration agreement contained in Bungie’s LSLA which states that, with a
      DEMAND FOR ARBITRATION
                                                                               Perkins Coie LLP
      (No. __________) –2                                                1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
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 1   handful of exceptions, “all claims arising out of or relating to [the LSLA] (including its
 2   interpretation, formation, performance and breach), the parties’ relationship with each other
 3   and/or your use of [Destiny 2] shall be finally settled by binding arbitration administered by
 4   JAMS[.]” LSLA at 8. The claims asserted herein arise out of or relate to the LSLA, the parties’
 5   relationship with each other and/or Respondents’ use of Destiny 2. Moreover, on information
 6   and belief, Respondents agreed to the terms of the LSLA by downloading, installing, and/or
 7   using Destiny 2 to, for commercial gain, develop, advertise, use, and distribute a software cheat
 8   that purports to give players an unfair advantage in Destiny 2.
 9            9.     The LSLA further provides that the JAMS Comprehensive Arbitration Rules
10   apply to this action. Id.
11            10.    The location of the arbitration hearing being set in Phoenix, Arizona is proper
12   pursuant to the LSLA which provides that the arbitration may take place “at any reasonable
13   location within the United States convenient for you.” Id. at 9. Respondent Phoenix Digital
14   Group LLC is an Arizona Limited Liability Company located in Phoenix, Arizona, 85037.
15   Respondents Conway, Schaefer, and Green are members of Respondent Phoenix Digital Group,
16   and Respondent Conway resides in Phoenix, Arizona. Thus, Phoenix is a “reasonable location.”
17
                        FACTS, BACKGROUND, AND CAUSES OF ACTION
18            11.    Pursuant to JAMS Rule 9(b), Claimant incorporates its Complaint from the matter
19   Bungie, Inc. v. Aimjunkies.com, et al., No. 2:21-cv-0811 TSZ. Through incorporating the
20   Complaint, Claimant asserts all claims sought within the Complaint, except for Count One
21   (copyright infringement), Count Two (trademark infringement), and Count Three (false
22   designation of origin), which, as it will argue in opposition to the Motion, Claimant believes
23   should not be subject to mandatory arbitration under the LSLA.
24
                                         PRAYER FOR RELIEF
25            WHEREFORE, Claimant Bungie, Inc., prays for the following relief:
26            A.     That judgment be entered in Bungie’s favor against Respondents on all claims.
      DEMAND FOR ARBITRATION
                                                                                Perkins Coie LLP
      (No. __________) –3                                                 1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
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 1            B.      That Respondents and their officers, agents, representatives, servants, employees,
 2   heirs, successors, and assigns, and all others in active concert or participation with Respondents
 3   be preliminarily and permanently enjoined from:
 4                    (1)      Infringing, inducing, or enabling others to infringe Bungie’s trademarks,
 5                             including but not limited to, the DESTINY Marks1;
 6                    (2)      Infringing, inducing, or enabling others to infringe Bungie’s copyrights;
 7                    (3)      Creating, writing, developing, advertising, promoting, and/or offering for
 8                             sale or otherwise any software that infringes Bungie’s copyrights;
 9                    (4)      Descrambling, decrypting, avoiding, bypassing, removing, deactivating, or
10                             impairing a technological measure that controls access to Bungie’s
11                             copyrighted works;
12                    (5)      Manufacturing, importing, offering to the public, providing, or otherwise
13                             trafficking in any technology, product, service, device, component, or part
14                             thereof that (A) is primarily designed or produced for the purpose of
15                             circumventing Bungie’s technological measure(s) that effectively controls
16                             access to a work; (B) has only limited commercially significant purpose or
17                             use other than to circumvent a technological protection measure that
18                             effectively controls access to a work; and/or (C) is marketed by
19                             Respondents for use in circumventing technological protection measure(s)
20                             that effectively control access to a work;
21                    (6)      Manufacturing, importing, offering to the public, providing, or otherwise
22                             trafficking in any technology, product, service, device, component, or part
23                             thereof that (A) is primarily designed or produced for the purpose of
24                             circumventing protection afforded by technological measure(s) that
25

26            1
              To the extent not expressly defined herein, capitalized terms have the same meaning as provided in the
     Complaint.
      DEMAND FOR ARBITRATION
                                                                                           Perkins Coie LLP
      (No. __________) –4                                                           1201 Third Avenue, Suite 4900
                                                                                      Seattle, WA 98101-3099
                                                                                        Phone: 206.359.8000
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 1                          effectively protects a right of Bungie in a work or a portion thereof; (B)
 2                          has only limited commercially significant purpose or use other than to
 3                          circumvent protection afforded by technological protection measure(s)
 4                          that effective protect a right of Bungie in a work or a portion thereof;
 5                          and/or (C) is marketed by Respondents for use in circumventing protection
 6                          afforded by technological protection measure(s) that effective protect a
 7                          right of Bungie in a work or a portion thereof; and
 8                  (7)     Aiding or assisting another person or entity in any of the activities
 9                          described in (1) - (6).
10            C.    An order requiring that Respondents provide a copy of all source code and
11   technical documentation relating to any derivative works of Destiny 2 developed or distributed
12   by Respondents, and then immediately destroy all copies of Destiny 2 or any derivative work
13   thereof in their possession or control;
14            D.    An order requiring that Respondents provide a copy of all source code and
15   technical documentation relating to the cheats developed or distributed by Respondents,
16   including all updates and patches, and then immediately destroy all copies of any cheats for
17   Destiny 2;
18            E.    An award to Claimant in an amount to exceed $250,000 of restitution and
19   damages, including but not limited to damages related to technical and other cheat mitigation
20   expenses; compensatory, statutory, punitive damages; and all other damages permitted by law;
21            F.    That Claimant be awarded pre-judgement and post-judgment interest on all
22   damages awarded against Respondents;
23            G.    An award to Claimant of its costs incurred in this suit as well as reasonable
24   attorneys’ fees; and
25            H.    For such other relief as the arbitrator deems just and proper.
26

      DEMAND FOR ARBITRATION
                                                                                  Perkins Coie LLP
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                                                                            Seattle, WA 98101-3099
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              Case 2:21-cv-00811-TSZ Document 123-2 Filed 05/01/23 Page 10 of 68




 1   DATED this 10th day of February 2022
                                               By: /s/William C. Rava
 2                                             William C. Rava, WSBA No. 29948
 3                                             By: /s/Christian W. Marcelo
                                               Christian W. Marcelo, WSBA No. 51193
 4                                             By: /s/Jacob P. Dini
                                               Jacob P. Dini, WSBA No. 54115
 5                                             Perkins Coie LLP
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 6
                                               Seattle, WA 98101-3099
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                                                        CMarcelo@perkinscoie.com
 9                                                      JDini@perkinscoie.com
10
                                               Attorneys for Claimant Bungie, Inc.
11

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       DEMAND FOR ARBITRATION
                                                                       Perkins Coie LLP
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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9
     BUNGIE, INC., a Delaware corporation,              No. 2:21-cv-811
10
                             Plaintiff,                 COMPLAINT
11                                                      WITH JURY DEMAND
              v.
12
     AIMJUNKIES.COM, a business of
13   unknown classification; PHOENIX
14   DIGITAL GROUP LLC, an Arizona
     limited liability company; JEFFREY
15   CONWAY, an individual; DAVID
     SCHAEFER, an individual; JORDAN
16   GREEN, an individual; and JAMES MAY,
     an individual,
17
                             Defendants.
18

19            Plaintiff Bungie, Inc. (“Plaintiff” or “Bungie”), by and through its undersigned attorneys,
20   for its Complaint against Defendants AimJunkies.com, Phoenix Digital Group LLC, Jeffrey
21   Conway, David Schaefer, Jordan Green, and James May (“Defendants”), hereby allege and aver
22   as follows:
23
                                             INTRODUCTION
24            1.     Bungie is the owner of the popular Destiny franchise including Destiny 2, an
25   incredibly successful shared-world first-person action video game. Destiny (2014) and Destiny 2
26   (2017) and its expansions (2018, 2019, 2020 and ongoing) have been persistent recipients or

      COMPLAINT                                                                  Perkins Coie LLP
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     152632999.4                                                                Fax: 206.359.9000
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 1   nominees for rewards worldwide since their release. Destiny, Destiny 2, and its expansions have
 2   met with commercial success due in part to their persistent multiplayer features, matchmaking,
 3   cooperative Player vs. Environment (PvE) and Player vs. Player (PvP) modes, and in-game
 4   rewards. Such rewards include items, seals, and titles that are obtainable by players through
 5   skillful gameplay and that are visible to other players, this visibility being an important aspect of
 6   the social, always-online nature of the games.
 7            2.    Defendants develop, advertise, use, and distribute a software cheat that purports to
 8   give players an unfair advantage in Destiny 2. Defendants are infringing Bungie’s copyrights
 9   and trademarks, circumventing technological measures protecting access to Destiny 2, and
10   breaching and inducing other players to breach Bungie’s Limited Software License Agreement
11   (“LSLA”).
12            3.    Cheaters ruin the experience of playing Destiny 2. Not only do cheaters impair
13   the enjoyment of gameplay by non-cheaters with whom they interact in-game; cheaters
14   illegitimately obtain and thereby devalue the in-game rewards that non-cheaters obtain
15   legitimately. It is vital to Bungie’s and Destiny 2’s success that Bungie keep cheaters out of the
16   game. Bungie has expended substantial time and money to keep players from utilizing cheats
17   like those developed by Defendants. Defendants’ cheats cause harm to Bungie including to the
18   goodwill Bungie has developed with the Destiny 2 community as well as to Bungie’s reputation.
19            4.    Bungie brings this action to stop Defendants’ unlawful actions, to prevent
20   Defendants from profiting off the unlawful infringement of Bungie’s IP, to prevent Defendants
21   from damaging Bungie’s reputation and diminishing the perceived value of the Destiny IP by
22   impairing the experience of legitimate non-cheat players of Destiny 2, as well as to put cheaters
23   and those who assist them on notice that Bungie does not and will not tolerate cheating in
24   Destiny 2.
25

26

      COMPLAINT                                                                  Perkins Coie LLP
      (No. 2:21-cv-811) –2                                                 1201 Third Avenue, Suite 4900
                                                                             Seattle, WA 98101-3099
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 1                                              PARTIES
 2            5.    Bungie is a Delaware corporation with its principal place of business at 550 106th
 3   Avenue NE, Suite 207, Bellevue, Washington, 98004-5088.
 4            6.    Defendant Aimjunkies.com is a business of unknown classification that
 5   advertises, markets and sells Defendants’ cheats.
 6            7.    Defendant Phoenix Digital Group LLC (“Phoenix Digital”) is an Arizona Limited
 7   Liability Company with a mailing address of 8837 W. Vernon, Phoenix, Arizona, 85037.
 8            8.    Defendant Jeffrey Conway is a member of Phoenix Digital with a mailing address
 9   of 8837 W. Vernon, Phoenix, Arizona, 85037.
10            9.    Defendant David Schaefer is a member of Phoenix Digital with a mailing address
11   of 5973 Jacques Drive, San Jose, California, 95123.
12            10.   Defendant Jordan Green is a member of Phoenix Digital with a mailing address of
13   2839 SW Dickinson Street, Portland, Oregon, 97219.
14            11.   Defendant James May is an individual residing at 2217 Polo Park Drive, Dayton,
15   Ohio, 45439.
16                                   JURISDICTION AND VENUE
17            12.   This Court has subject matter jurisdiction over Bungie’s claims for violations of
18   the Copyright Act, Lanham Act and related claims pursuant to 15 U.S.C. § 1121, 17 U.S.C.
19   § 501 and 28 U.S.C. §§ 1331 and 1338(a).
20            13.   This Court has supplemental jurisdiction over Bungie’s state law claims under 28
21   U.S.C. § 1367(a) because those claims are so related to Bungie’s claims under federal law that
22   they form part of the same case or controversy and derive from a common nucleus of operative
23   fact.
24            14.   Personal jurisdiction over Defendants is proper because Defendants consented to
25   jurisdiction in the state and federal courts in King County, Washington. On information and
26   belief, Defendants accepted the terms of the LSLA, which contain the following forum selection

      COMPLAINT                                                                Perkins Coie LLP
      (No. 2:21-cv-811) –3                                              1201 Third Avenue, Suite 4900
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 1   clause: “you agree to submit to the personal jurisdiction of any federal or state court in King
 2   County, Washington.”
 3            15.     Personal jurisdiction over Defendants is also proper because, as more fully set
 4   forth below, Defendants infringed Bungie’s copyrights and trademarks, circumvented and/or
 5   trafficked in technology that circumvented Bungie’s technological protection measures, and
 6   committed other acts directed to Washington. Defendants knew or should have known that the
 7   impact of their intentional acts would cause harm in Washington, where Bungie is
 8   headquartered.
 9            16.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the
10   events or omissions giving rise to the claims occurred in this judicial district and Defendants
11   have harmed Bungie in this judicial district.
12            17.     Venue is also proper because Defendants consented to suit in the federal court
13   located in King County, Washington.
14
                                       FACTS AND BACKGROUND
15
     A.       Bungie and the Destiny Franchise
16            18.     Bungie is an independent game development studio dedicated to creating hopeful
17   worlds that inspire passionate player communities and lifelong friendships. Over the past 20
18   years, Bungie has created many popular video games, including the Halo franchise, the Marathon
19   Trilogy, and the first two Myth games.
20            19.     Bungie’s latest, and most ambitious project is the Destiny franchise. The
21   franchise launched in September 2014 with the release of Destiny. In Destiny, players are
22   Guardians of the last safe city on Earth, protecting humanity from aliens and combatting the
23   looming threat of the Darkness, an ongoing threat to humanity. At the time of its release,
24   Destiny offered an unprecedented variety of gameplay that broke traditional conventions of
25   story, cooperative and competitive multiplayer modes, combined with public and social
26   activities.

      COMPLAINT                                                                 Perkins Coie LLP
      (No. 2:21-cv-811) –4                                                1201 Third Avenue, Suite 4900
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 1            20.   Destiny has a large, vibrant and passionate community of players. Since its
 2   release in 2014, Destiny attracted more than 10 million players worldwide. Post-launch, Bungie
 3   supported the growth of Destiny and the Destiny community by selling downloadable content
 4   (“DLC”) expansions with new content and in-game events that offered challenges, new game
 5   modes, and rewards for its players.
 6            21.   The most recent game in the Destiny franchise, Destiny 2, was released in
 7   September 2017 and builds on the success of the original game. Destiny 2 is now a free-to-play
 8   game with paid expansions, continually refreshed DLC, and a player base estimated over 30
 9   million players. As with the original Destiny, Bungie continues to offer new DLC post-launch in
10   Destiny 2 with three major expansions and substantial seasonal releases, including the most
11   recent expansion, Destiny 2: Beyond Light, which allows players to harness new powers and
12   explore a new frontier, Europa.
13            22.   Destiny 2 and its expansions have received or been nominated for the following
14   rewards worldwide since their release: in the US, Best Ongoing Game Award (2020, 2019, 2018,
15   2017), Best Community Support Award (2020, 2019), Best Multiplayer Game Award (2018,
16   2017), Best Action Game Award (2018, 2017), and others; and comparable awards and
17   recognitions in Italy, France, Russia, the UK, Australia, New Zealand, Spain, Germany, and
18   elsewhere.
19            23.   A key part of the Destiny franchise’s success is the bringing together of players in
20   a shared, persistent world. The Destiny franchise combines the game with a unique social
21   experience by connecting players with a living world that they can explore and social spaces
22   where players can congregate and celebrate achievements.
23            24.   Destiny 2 offers a variety of game modes that present exciting challenges for
24   players, and rewards for those who complete them. Players can test their skills in PvP
25   competitive matches, featuring objective-based game modes requiring players to take control of
26   locations on a map or detonating a charge on the opposing team’s base, and non-objective-based

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 1   game modes which require only that players defeat other players. By performing well in the
 2   Crucible (Destiny 2’s online PvP gameplay mode) and defeating opponents, players are
 3   rewarded with powerful weapons and gear. The endgame PvP contests offer skill-based
 4   matchmaking in which teams of players are iteratively matched against stronger opponents, in a
 5   system that naturally concentrates cheaters.
 6            25.    Destiny 2 also offers PvE activities where players, often working together, battle
 7   non-player characters to complete objectives. The most challenging PvE activities require a high
 8   level of skill and coordination among players to complete. By completing more difficult
 9   activities, players can obtain the most powerful weapons and gear with unique abilities. High
10   skill-based performance in endgame PvE content also rewards players with powerful weapons
11   and gear, as well as access to exclusive rewards both in-game (e.g., banners, seals) and in
12   exclusive physical merchandize through the Bungie Rewards program.
13            26.    Keeping cheaters out of Destiny 2 is vital to Bungie, the Destiny community, and
14   to the success and continued player interest in the Destiny franchise. Bungie has made
15   substantial investments in time and money to ensure that all players in Destiny 2 achieve success
16   due to their talent and skill, and not due to software that gives them an unfair advantage.
17            27.    Cheaters, and those who develop and sell cheats, are especially harmful to the
18   Destiny 2 community. Destiny 2 rewards players for their gameplay skills with items, seals, and
19   titles, and these rewards are visible to other players. Cheaters earn the same rewards without the
20   requisite gameplay skill. When cheating occurs, or when there is a perception that players are
21   cheating, then non-cheating players become frustrated that cheaters obtain the same rewards and
22   stop playing.
23            28.    Cheaters are also harmful to the continued commercial success of Destiny 2. As a
24   free-to-play game, Destiny 2’s commercial success is dependent upon continued player
25   engagement, including the purchase of DLC and Destiny 2 expansions. When players are
26   deprived of in-game rewards because cheaters defeat them in competitive game modes, or when

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 1   players’ in-game rewards are devalued by cheaters who obtain rewards they otherwise would not
 2   have obtained, players stop playing Destiny 2 and purchasing the DLC and expansions.
 3            29.    On information and belief, cheat software may also be used to surreptitiously
 4   install malware and other harmful software on the computers of cheat software users.
 5            30.    Simply put, cheaters ruin the game for everyone.
 6
     B.       Bungie’s Intellectual Property Rights in the Destiny Franchise
 7            31.    Bungie is the owner of all rights, title, and interest in the copyrights in Destiny,
 8   Destiny 2 and all expansions, including without limitation, in its computer software and the
 9   audiovisual works that software creates (collectively, the “Destiny Copyrights”). These
10   copyrights are the subjects of U.S. Copyright Registrations listed in the table below, and attached
11   hereto as Exhibits 1–4.
12    Title             Type                 Registration     Date of 1st            Expiration Date of
                                             No.              Publication            Registration
13    Destiny 2          Code (Literary      TX 8-933-655 September 9, 2017          September 9, 2112
                         Work)
14
      Destiny 2:         Code (Literary      TX 8-933-658 November 10, 2020 November 10, 2115
15    Beyond Light       Work)
      Destiny 2          Audiovisual         PA 2-282-670 September 9, 2017 September 9, 2112
16    Destiny 2:         Audiovisual         PA 2-280-030 November 10, 2020 November 10, 2115
      Beyond Light
17
              32.    Bungie also owns multiple trademarks associated with the Destiny franchise
18
     including but not limited to DESTINY, DESTINY (& design), DESTINY 2, DESTINY 2:
19
     LIGHTFALL, DESTINY 2: BEYOND LIGHT, and DESTINY 2: THE WITCH QUEEN (the
20
     “DESTINY Marks”).
21
              33.    Bungie began using the DESTINY and DESTINY (& design) marks in commerce
22
     at least as early as February 1, 2013. Since their first use, Bungie has continually used those
23
     marks in connection with video game software.
24
              34.    Bungie has invested substantial resources in marketing, advertising, and
25
     distributing video games under the DESTINY Marks.
26

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 1            35.   Destiny 2, sold under the DESTINY Marks, has a growing player base of more
 2   than 30 million players.
 3            36.   Bungie has developed substantial goodwill and strong recognition in the
 4   DESTINY Marks, and those marks have come to be associated with Bungie.
 5            37.   Through its nationwide use and promotion of the DESTINY Marks, Bungie has
 6   established strong rights in those trademarks and they are entitled to protection.
 7            38.   Bungie also owns United States Patent and Trademark Office (“USPTO”)
 8   Registration No. 4,321,315 for the DESTINY (& design) mark:
 9

10

11

12

13
     A true and correct copy of the registration certificate for the DESTINY (& design) mark is
14
     attached hereto as Exhibit 5.
15
              39.   Bungie also has pending applications for DESTINY 2: LIGHTFALL (Serial No.
16
     88/955,399), DESTINY 2: BEYOND LIGHT (Serial No. 88/955,392), and DESTINY 2: THE
17
     WITCH QUEEN (Serial No. 88/955,395).
18
     C.       Bungie’s Efforts to Eliminate Cheaters from Destiny 2
19
              40.   Because of Destiny 2’s popularity, it is under constant threat by individuals
20
     seeking to make a profit from selling cheats and cheaters seeking to gain an unfair advantage
21
     over other players for personal gain and glory.
22
              41.   By downloading, installing, and/or playing Destiny 2, players accept the terms of
23
     Bungie’s LSLA. If a player does not agree to the LSLA or wishes to reject the terms of the
24
     LSLA, then the player may not install, copy, or use Destiny 2. A true and correct copy of the
25
     LSLA is attached hereto as Exhibit 6.
26

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 1            42.   On information and belief, Defendants each downloaded, installed, and or played
 2   Destiny 2 and therefore accepted the terms of the LSLA.
 3            43.   Under the LSLA, players agree they will not do, or allow, any of the following:
 4                      a. Exploit Destiny 2 or any of its parts commercially;
 5                      b. Copy, reproduce, distribute, display or use any part of Destiny 2 except as
 6                           expressly authorized by Bungie;
 7                      c. Sell, rent, lease, license, distribute, or otherwise transfer Destiny 2 or any
 8                           copies thereof;
 9                      d. Reverse engineer, derive source code, modify, decompile, disassemble, or
10                           create derivative works of Destiny 2, in whole or in part; or
11                      e. Hack or modify Destiny 2, or create, develop, modify, distribute, or use
12                           any unauthorized software programs to gain advantage in any online or
13                           multiplayer game modes.
14            44.   Bungie employs a variety of technological protection measures that, in the
15   ordinary course of their operation, require the application of information, or a process or a
16   treatment, with the authority of Bungie, to gain access to Destiny 2 and prevent, restrict, or
17   otherwise limit a player’s ability to access, copy, or modify Destiny 2. At a high level, the
18   Destiny 2 game client attempts to safeguard critical player data and prevent unauthorized reading
19   and writing of this data, as well as unauthorized execution of game logic. Additional measures
20   are taken to prevent otherwise normal game functionality (e.g. firing a weapon) from being
21   manipulated, misused, or over-used to gain an unfair advantage.
22            45.   The AimJunkies cheat suite evades these protections to offer its users access to
23   hidden player data and to modify or use it to further abuse existing game functionality, thus
24   disrupting other players’ experience with the game. The AimJunkies cheat suite also attempts to
25   evade the detection by Bungie of cheat mechanisms.
26

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 1            46.   In addition, Bungie provides a mechanism for players to report cheating via an in-
 2   game reporting tool or through a form on the Bungie website. Bungie uses those reports along
 3   with other tools to investigate players who may be using cheats.
 4            47.   Bungie does not tolerate cheating or the individuals and entities who assist players
 5   in cheating.
 6            48.   Bungie regularly bans players who are connected to cheat makers and/or who use
 7   cheat software within Destiny 2.
 8
     D.       Defendants’ Cheat Software
 9            49.   Defendants created, advertised, sold, and distributed cheat software, including for
10   Destiny 2.
11            50.   Defendants advertised and sold their cheats through their website,
12   AimJunkies.com. Defendants’ sold their cheat, “Destiny 2 Hacks,” for $34.95/month.
13            51.   On information and belief, Defendant Phoenix Digital owns and controls
14   AimJunkies. According to the AimJunkies website, the website was acquired by Phoenix Digital
15   in or around June 2016.
16            52.   As of December 4, 2020, Phoenix Digital was listed as the seller of the Destiny 2
17   cheat software purchased through AimJunkies.
18            53.   Destiny 2 players who purchase and deploy Defendants’ cheat may be given an
19   unfair advantage over non-cheating Destiny 2 players. For example, Defendants’ “Destiny 2
20   Aimbot” claims to automatically aim at enemy players without requiring input from the cheat
21   user; the “Destiny 2 No Recoil” purports to eliminate recoil from weapons, allowing the user to
22   stay locked on to his/her enemies; and the “ESP” feature purportedly allows the cheat user to see
23   players and items through walls, which non-cheating players cannot do.
24            54.   On information and belief, Defendants created, maintained, and modified their
25   cheat software by first downloading, installing, and/or playing Destiny 2.
26

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 1            55.   On information and belief, Defendants copied and distributed Bungie’s
 2   copyrighted works in order to reverse engineer, disassemble, decompile, decrypt, and modify
 3   those works without Bungie’s authorization.
 4            56.   On information and belief, Defendants incorporated technology into their cheat
 5   software that avoids, bypasses, removes, deactivates, and/or impairs Bungie’s technological
 6   measures that control access to Bungie’s copyrighted code and/or audiovisual works for Destiny
 7   2.
 8            57.   Furthermore, on information and belief, each time a Destiny 2 player uses
 9   Defendants’ cheat software, the cheat software circumvents Bungie’s technological protection
10   measures by evading anti-cheat protections and detection to offer its users access to hidden
11   player data and to modify or use it to further abuse existing game functionality.
12            58.   Each time a player uses Defendants’ cheat software while playing Destiny 2, that
13   player breaches the LSLA by “us[ing] an[] unauthorized software program[] to gain advantage in
14   any online or multiplayer game modes.”
15            59.   The purpose of Defendants’ cheat is to allow players to gain an advantage in
16   Destiny 2. Defendants’ website states that it “offers cheats and mods that give a user an
17   improved experience and an advantage over the competition,” boasting that “AimJunkies is the
18   first place to go for the best cheating experience.”
19            60.   Defendants know their cheat software cannot be used without violating the LSLA.
20   Defendants encourage and induce their users to use their cheat software by claiming that their
21   hacks are “Undetected,” suggesting to their users that their cheating would be unknown to
22   Bungie.
23            61.   Defendants have caused and continue to cause serious harm to the value of
24   Destiny 2 and to the Destiny 2 community by preventing players who do not use cheats from
25   enjoying the game, causing players to grow dissatisfied and stop playing.
26

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 1            62.   In addition, Bungie has been forced to expend significant resources attempting to
 2   detect, investigate, and remediate this activity, including creating and releasing new versions of
 3   the game, responding to player complaints, and banning users of Defendants’ cheat software.
 4            63.   Defendants’ conduct has harmed Bungie’s reputation and goodwill among the
 5   Destiny community.
 6            64.   Although Bungie is unable to confirm that Defendants continue to offer the cheat,
 7   Bungie is equally unable to confirm that Defendants have permanently and forever discontinued
 8   any offering of the cheat. Defendants may still be offering the cheat, and Defendants’ conduct is
 9   capable of repetition, either by selling the same cheat software again on AimJunkies.com or
10   another website.
11            65.   Furthermore, recent activity on Bungie’s servers indicative of a toolset connected
12   with AimJunkies suggests that Defendants continue to develop and, presumably, also offer the
13   Destiny 2 cheat software on platforms currently undetected by Bungie.
14
                                       FIRST CAUSE OF ACTION
15                          (Copyright Infringement, 17 U.S.C. § 501, et seq.)
16            66.   Bungie repeats, realleges, and incorporates herein by reference the allegations in
17   the foregoing paragraphs as if fully set forth herein.
18            67.   Destiny 2 constitutes an original work of authorship and copyrightable subject
19   matter under the laws of the United States.
20            68.   Bungie owns or has exclusive rights to all right, title, and interest in Destiny 2.
21            69.   Defendants had access to Destiny 2.
22            70.   Defendants’ cheat software infringes Bungie’s Destiny Copyrights by copying,
23   producing, preparing unauthorized derivative works from, distributing and/or displaying Destiny
24   2 publicly all without Bungie’s permission.
25            71.   Defendants’ copies, reproductions, derivative works, and/or displays are identical
26   or substantially similar to the copyrighted works.

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 1            72.    Defendants’ actions are willful.
 2            73.    Bungie has been and will continue to be damaged by Defendants’ unlawful
 3   infringement.
 4            74.    Defendants’ conduct has caused irreparable harm to Bungie, and, unless enjoined,
 5   will cause further irreparable harm for which Bungie has no adequate remedy at law.
 6            75.    Bungie is entitled to relief pursuant to 17 U.S.C. §§ 502-505, including, but not
 7   limited to, injunctive relief, an order for the impounding and destruction of Defendants’
 8   infringing copies and/or derivative works, compensatory damages (including, but not limited to
 9   actual damages and/or Defendants’ profits), and Bungie’s costs and attorneys’ fees.
10
                                      SECOND CAUSE OF ACTION
11                             (Trademark Infringement, 15 U.S.C. § 1114)
12            76.    Bungie repeats, realleges, and incorporates herein by reference the allegations in
13   the foregoing paragraphs as if fully set forth herein.
14            77.    Defendants’ unauthorized use of the DESTINY (& design) mark to advertise,
15   promote and sell their cheat constitutes infringement of Bungie’s registered DESTINY (&
16   design) mark.
17            78.    Because of Bungie’s continuous and exclusive use of the DESTINY (& design)
18   mark, it has come to mean, and is understood by consumers to signify products of Bungie.
19            79.    Defendants’ unauthorized use of the DESTINY (& design) mark in connection
20   with the sale, offering for sale, distribution, and advertising of cheats, is likely to cause
21   confusion, mistake, or deception as to the source, origin, or authenticity of Defendants’ products
22   and services.
23            80.    Further, Defendants’ activities are likely to lead consumers to conclude,
24   incorrectly, that Defendants’ products and services originate with or are authorized by Bungie.
25            81.    Defendants’ actions damage and harm Bungie.
26

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 1            82.     Bungie is entitled to the relief provided by 15 U.S.C. § 1117, including, but not
 2   limited to, statutory damages, enhanced damages, Defendants’ profits, Bungie’s damages, and
 3   the costs of this action.
 4            83.     Defendants knew of Bungie’s rights, and their infringement has been knowing,
 5   willful, and deliberate, such that the Court should award Bungie its attorneys’ fees pursuant to 15
 6   U.S.C. § 1117.
 7            84.     Bungie has been, and continues to be, damaged by such acts in a manner that
 8   cannot be fully measured or compensated in economic terms and therefore has no adequate
 9   remedy at law. Furthermore, upon showing a violation of 15 U.S.C. § 1114, Bungie is entitled a
10   rebuttable presumption of irreparable harm from that violation, and seeks permanent injunctive
11   relief pursuant to 15 U.S.C. § 1116.
12            85.     Defendants’ activities have damaged, and threaten to continue damaging,
13   Bungie’s reputation and goodwill.
14
                                        THIRD CAUSE OF ACTION
15                           (False Designation of Origin, 15 U.S.C. § 1125(a))
16            86.     Bungie repeats, realleges, and incorporates herein by reference the allegations in
17   the foregoing paragraphs as if fully set forth herein.
18            87.     Bungie has strong rights in the DESTINY Marks.
19            88.     Defendants’ actions constitute the use in interstate commerce of a false
20   designation of origin, false or misleading description of fact, or false or misleading
21   representations of fact that are likely to cause confusion or mistake, or to deceive as to the
22   affiliation, connection, or association of Defendants’ products and services with Bungie, or as to
23   the origin, sponsorship, or approval of the goods and services provided by Defendants in
24   violation of 15 U.S.C. § 1125(a).
25            89.     Bungie is entitled to the relief provided by 15 U.S.C. § 1117(a), including, but not
26   limited to, Defendants’ profits, Bungie’s damages, and the costs of this action.

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 1            90.   Defendants knew of Bungie’s rights, and their infringement has been knowing,
 2   willful, and deliberate, such that the Court should award Bungie its attorneys’ fees pursuant to
 3   15 U.S.C. § 1117.
 4            91.   Defendants’ activities have damaged, and threaten to continue damaging,
 5   Bungie’s reputation and goodwill.
 6            92.   Bungie has been, and continues to be, damaged by such acts in a manner that
 7   cannot be fully measured or compensated in economic terms and therefore has no adequate
 8   remedy at law. Furthermore, upon showing a violation of 15 U.S.C. § 1125(a), Bungie is entitled
 9   a rebuttable presumption of irreparable harm from that violation, and seeks permanent injunctive
10   relief pursuant to 15 U.S.C. § 1116.
11
                                     FOURTH CAUSE OF ACTION
12                  (Circumvention of Technological Measures, 17 U.S.C. § 1201(a))
13            93.   Bungie repeats, realleges, and incorporates herein by reference the allegations in
14   the foregoing paragraphs as if fully set forth herein.
15            94.   Bungie is the owner of valid, registered, and enforceable copyrights in Destiny 2.
16            95.   Bungie has designed and implemented technological measures to prevent and
17   control access to Destiny 2. These technological measures include attempts to safeguard critical
18   player data and prevent unauthorized reading and writing of this data, as well as unauthorized
19   execution of game logic. Additional measures are taken to prevent otherwise normal game
20   functionality (e.g. firing a weapon) from being manipulated, misused, or over-used to gain an
21   unfair advantage.
22            96.   In the ordinary course of the operation of these technological measures, they
23   require the application of information, or a process or a treatment, with the authority of Bungie,
24   to gain access to Destiny 2.
25

26

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 1            97.      On information and belief, Defendants descrambled, decrypted, avoided,
 2   bypassed, removed, deactivated, and/or impaired one or more of Bungie’s technological
 3   measures that control access to Destiny 2 without the authority of Bungie.
 4            98.      As a direct result of Defendants’ circumvention, Bungie has been injured, and will
 5   continue to be injured.
 6            99.      Defendants’ actions were and are willful.
 7            100.     Defendants’ conduct has caused irreparable harm to Bungie, and, unless enjoined,
 8   will cause further irreparable harm for which Bungie has no adequate remedy at law.
 9            101.     Bungie is entitled to the relief provided by 17 U.S.C. § 1203, including, but not
10   limited to, injunctive relief, an order for the impounding, modification, or destruction of any
11   device or product in Defendants’ custody or control involved in the circumvention of Bungie’s
12   technological measures, actual damages and Defendants’ profits or statutory damages, and
13   Bungie’s costs and attorneys’ fees.
14
                                         FIFTH CAUSE OF ACTION
15                   (Trafficking in Circumvention Technology, 17 U.S.C. §§ 1201(a)-(b))
16            102.     Bungie repeats, realleges, and incorporates herein by reference the allegations in
17   the foregoing paragraphs as if fully set forth herein.
18            103.     Bungie is the owner of valid, registered, and enforceable copyrights in Destiny 2.
19            104.     Bungie has designed and implemented technological measures that include
20   attempts to safeguard critical player data and prevent unauthorized reading and writing of this
21   data, as well as unauthorized execution of game logic. Additional measures are taken to prevent
22   otherwise normal game functionality (e.g. firing a weapon) from being manipulated, misused, or
23   over-used to gain an unfair advantage.
24            105.     In the ordinary course of the operation of these technological measures, they
25   prevent, restrict, or otherwise limit the exercise of any rights in Destiny 2 exclusive to Bungie,
26

      COMPLAINT                                                                   Perkins Coie LLP
      (No. 2:21-cv-811) –16                                                 1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
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 1   including unauthorized modification of the game client or unauthorized modification of
 2   information sent to or from Bungie’s servers.
 3            106.   On information and belief, Defendants manufacture, import, offer to the public,
 4   provide, or otherwise traffic in cheat software that contains technology, products, services,
 5   devices, components, or parts thereof, that (A) is primarily designed or produced for the purpose
 6   of circumventing Bungie’s technological measure(s) that effectively controls access to a work;
 7   (B) has only limited commercially significant purpose or use other than to circumvent a
 8   technological protection measure that effectively controls access to a work; and/or (C) is
 9   marketed by Defendants for use in circumventing technological protection measure(s) that
10   effectively control access to a work.
11            107.   On information and belief, Defendants manufacture, import, offer to the public,
12   provide, or otherwise traffic in a technology, product, service, device, component, or part
13   thereof, that (A) is primarily designed or produced for the purpose of circumventing protection
14   afforded by technological measure(s) that effectively protects a right of Bungie in a work or a
15   portion thereof; (B) has only limited commercially significant purpose or use other than to
16   circumvent protection afforded by technological protection measure(s) that effective protect a
17   right of Bungie in a work or a portion thereof; and/or (C) is marketed by Defendants for use in
18   circumventing protection afforded by technological protection measure(s) that effective protect a
19   right of Bungie in a work or a portion thereof.
20            108.   As a direct result of Defendants’ trafficking, Bungie has been injured, and will
21   continue to be injured.
22            109.   Defendants’ actions were and are willful.
23            110.   Defendants’ conduct has caused irreparable harm to Bungie, and, unless enjoined,
24   will cause further irreparable harm for which Bungie has no adequate remedy at law.
25            111.   Bungie is entitled to the relief provided by 17 U.S.C. § 1203, including, but not
26   limited to, injunctive relief, an order for the impounding, modification, or destruction of any

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 1   device or product in Defendants’ custody or control involved in the circumvention of Bungie’s
 2   technological measures, damages measured at Bungie’s election either by Bungie’s actual
 3   damages and Defendants’ profits or statutory damages, and Bungie’s costs and attorneys’ fees.
 4
                                       SIXTH CAUSE OF ACTION
 5                                            (Breach of Contract)
 6            112.   Bungie repeats, realleges, and incorporates herein by reference the allegations in
 7   the foregoing paragraphs as if fully set forth herein.
 8            113.   Access to and use of Destiny 2 is governed by and subject to the LSLA.
 9            114.   At all times relevant hereto, Bungie prominently displayed and/or provided links
10   to the LSLA, including on its website, www.bungie.net.
11            115.   On information and belief, Defendants agreed to the LSLA by downloading,
12   installing, and/or using Destiny 2.
13            116.   The LSLA is a valid, enforceable contract between Bungie and Defendants.
14            117.   Defendants breached the LSLA by:
15                      a. Exploiting Destiny 2 commercially;
16                      b. Copying, reproducing, distributing, displaying and/or using Destiny 2;
17                      c. Selling, renting, leasing, licensing, distributing, and/or transferring
18                          Destiny 2 or any copies thereof;
19                      d. Reverse engineering, deriving source code, modifying, decompiling,
20                          disassembling, and/or creating derivative works of Destiny 2, in whole or
21                          in part; and/or
22                      e. Hacking or modifying Destiny 2, or creating, developing, modifying,
23                          distributing, or using any unauthorized software programs to gain
24                          advantage in any online or multiplayer game modes.
25            118.   Bungie has performed its obligations pursuant to the LSLA.
26

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 1            119.   As a direct and proximate result of Defendants’ breaches of the LSLA, Bungie
 2   has been and will continue to be harmed, entitling it to injunctive relief, damages, attorneys’
 3   fees, costs, and/or other equitable relief against Defendants.
 4
                                     SEVENTH CAUSE OF ACTION
 5                                         (Tortious Interference)
 6            120.   Bungie repeats, realleges, and incorporates herein by reference the allegations in
 7   the foregoing paragraphs as if fully set forth herein.
 8            121.   When a player downloads, installs, and or uses Destiny 2, the player accepts the
 9   terms of the LSLA.
10            122.   The LSLA is a valid and enforceable contract between Bungie and Destiny 2
11   players.
12            123.   On information and belief, Defendants were aware of the LSLA between Bungie
13   and players of Destiny 2 because Defendants, by downloading, installing, and/or using Destiny
14   2, also agreed to the terms of the LSLA.
15            124.   Defendants were aware that the LSLA prohibits “hack[ing] or modify[ing]
16   [Destiny 2], or . . . us[ing] any unauthorized software programs to gain advantage in any online
17   or multiplayer game modes.”
18            125.   Defendants intentionally induced or caused Destiny 2 players that use
19   Defendants’ cheat to breach the LSLA.
20            126.   On information and belief, Defendants interfered with Bungie’s contracts with
21   Destiny 2 players with an improper purpose.
22            127.   Defendants also interfered with Bungie’s contracts with Destiny 2 players through
23   improper means, including the acts described above.
24            128.   As a result of Defendants’ conduct, Bungie has suffered damages, including but
25   not limited to loss of goodwill among players of Destiny 2, expenditure of resources to detect,
26   investigate, and prevent use of Defendants’ cheat software, and decreased profits.

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 1                                      EIGHTH CAUSE OF ACTION
 2                   (Violation of the Washington Consumer Protection Act, RCW 19.86.020)
 3            129.    Bungie repeats, realleges, and incorporates herein by reference the allegations in
 4   the foregoing paragraphs as if fully set forth herein.
 5            130.    The foregoing acts of Defendants constitute unfair methods of competition and
 6   unfair or deceptive acts or practices in the conduct of trade or commerce in violation of RCW
 7   19.86.020.
 8            131.    Defendants’ conduct affects and is contrary to the public interest, tends to mislead
 9   a substantial portion of the public, and has injured and, unless enjoined, will continue to injure
10   Bungie in its business and property.
11            132.    As a result of Defendants’ conduct Bungie has been and will continue to be
12   damaged and is entitled to actual damages, treble damages, costs of litigation, attorneys’ fees,
13   and an injunction.
14                                       NINTH CAUSE OF ACTION
15                                           (Unjust Enrichment)
16            133.    Bungie repeats, realleges, and incorporates herein by reference the allegations in
17   the foregoing paragraphs as if fully set forth herein.
18            134.    Defendants have received, and continue to receive, a monetary benefit from
19   Destiny 2 players that purchase their cheat.
20            135.    Defendants received, and continue to receive, this benefit at Bungie’s expense.
21            136.    Under the circumstances, it is unjust for Defendants to retain the benefit without
22   payment to Bungie.
23
                                               JURY DEMAND
24            Pursuant to Federal Rule of Civil Procedure 38(b), plaintiff demands a trial by jury as to
25   all issues so triable in this action.
26

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 1                                       PRAYER FOR RELIEF
 2            WHEREFORE, Plaintiff Bungie, Inc., prays for the following relief:
 3            A.     That judgment be entered in Bungie’s favor against Defendants on all claims.
 4            B.     That Defendants and their officers, agents, representatives, servants, employees,
 5   heirs, successors, and assigns, and all others in active concert or participation with Defendants be
 6   preliminarily and permanently enjoined from:
 7                   (1)    Infringing, inducing, or enabling others to infringe Bungie’s trademarks,
 8                          including but not limited to, the DESTINY Marks;
 9                   (2)    Infringing, inducing, or enabling others to infringe Bungie’s copyrights;
10                   (3)    Creating, writing, developing, advertising, promoting, and/or offering for
11                          sale or otherwise any software that infringes Bungie’s copyrights;
12                   (4)    Descrambling, decrypting, avoiding, bypassing, removing, deactivating, or
13                          impairing a technological measure that controls access to Bungie’s
14                          copyrighted works;
15                   (5)    Manufacturing, importing, offering to the public, providing, or otherwise
16                          trafficking in any technology, product, service, device, component, or part
17                          thereof that (A) is primarily designed or produced for the purpose of
18                          circumventing Bungie’s technological measure(s) that effectively controls
19                          access to a work; (B) has only limited commercially significant purpose or
20                          use other than to circumvent a technological protection measure that
21                          effectively controls access to a work; and/or (C) is marketed by
22                          Defendants for use in circumventing technological protection measure(s)
23                          that effectively control access to a work;
24                   (6)    Manufacturing, importing, offering to the public, providing, or otherwise
25                          trafficking in any technology, product, service, device, component, or part
26                          thereof that (A) is primarily designed or produced for the purpose of

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 1                           circumventing protection afforded by technological measure(s) that
 2                           effectively protects a right of Bungie in a work or a portion thereof; (B)
 3                           has only limited commercially significant purpose or use other than to
 4                           circumvent protection afforded by technological protection measure(s)
 5                           that effective protect a right of Bungie in a work or a portion thereof;
 6                           and/or (C) is marketed by Defendants for use in circumventing protection
 7                           afforded by technological protection measure(s) that effective protect a
 8                           right of Bungie in a work or a portion thereof; and
 9                    (7)    Aiding or assisting another person or entity in any of the activities
10                           described in (1) - (6).
11            C.      An order requiring that Defendants immediately destroy all copies of Destiny 2 or
12   any derivative work thereof in their possession or control;
13            D.      An order requiring that Defendants immediately destroy all copies of any cheats
14   for Destiny 2;
15            E.      An award to Plaintiffs of restitution and damages, including but not limited to
16   compensatory, statutory (including enhanced statutory damages for willful infringement),
17   punitive damages, and all other damages permitted by law;
18            F.      That Bungie be awarded pre-judgement and post-judgment interest on all
19   damages awarded against Defendants;
20            G.      An award to Plaintiffs of their costs incurred in this suit as well as reasonable
21   attorneys’ fees; and
22            H.      For such other relief as the Court deems just and proper.
23

24

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      COMPLAINT                                                                    Perkins Coie LLP
      (No. 2:21-cv-811) –22                                                 1201 Third Avenue, Suite 4900
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 1   DATED this 15th day of June 2021
                                                By: /s/William C. Rava
 2                                              William C. Rava, WSBA No. 29948
 3                                              By: /s/Jacob P. Dini
                                                Jacob P. Dini, WSBA No. 54115
 4                                              Perkins Coie LLP
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                                                         JDini@perkinscoie.com
 8
                                                Attorneys for Plaintiff Bungie, Inc.
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                     Service Request #:    1-10156210289




Mail Certificate


Perkins Coie LLP
Patchen M. Haggerty
P.O. Box 2608
Seattle, WA 98111 United States




                              Priority: Special Handling                Application Date: February 10, 2021
Note to C.O.: Copyright application is for the multimedia elements of a videogame. Deposit materials include a written
synopsis of the videogame, sound recordings, a video of gameplay, and a series of pictorial images to represent the
audiovisual elements. The artwork in the deposit is collective as a whole of the videogame.


Correspondent



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                                                                                    Registration Number
                                                                                    PA 2-280-030
                                                                                    Effective Date of Registration:
                                                                                    February 10, 2021
                                                                                    Registration Decision Date:
                                                                                    March 05, 2021




    Title
                         Title of Work:     Destiny 2: Beyond Light


    Completion/Publication
                   Year of Completion:      2020
                Date of 1st Publication:    November 10, 2020
               Nation of 1st Publication:   United States

    Author

                     •       Author:        Bungie, Inc.
                      Author Created:       audiovisual material including music and sounds
                   Work made for hire:      Yes
                           Citizen of:      United States

                     •       Author:        Activision Publishing, Inc.
                      Author Created:       contributions to audiovisual material
                   Work made for hire:      Yes
                           Citizen of:      United States

    Copyright Claimant

                   Copyright Claimant:      Bungie, Inc.
                                            550 106th Ave NE, Suite 207, Bellevue, WA, 98004, United States
                    Transfer statement:     By written agreement
1
    Limitation of copyright claim

      Material excluded from this claim:    preexisting audiovisual material, music compositions and sound recordings from
                                            previous versions of "Destiny 2" videogame

        New material included in claim:     audiovisual material including musical compositions and sounds
1
     Rights and Permissions
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                        Address:    550 106th Ave NE
                                    Suite 207
                                    Bellevue, WA 98004 United States

Certification

                           Name:    Patchen M. Haggerty
                            Date:   February 10, 2021
    Applicant's Tracking Number:    139303-6000.US04
                            Date:   February 10, 2021
                                    Approved
                Correspondence:     Yes




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                              For all purposes, this English language version of this Agreement shall be the original, governing instrument and
  SLA
                              understanding of the parties. In the event of any conflict between this English language version of the Agreement and
                              any subsequent translation into any other language, this English language version shall govern and control.
  PRIVA
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  POLICY                      IMPORTANT
                                   T    NOTICE FOR RESIDENTS IN NORTH AMERICA ONLY
                                                                                L : THIS AGREEMENT IS SUBJECT TO BINDING
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                                    WAIVER OF CLASS ACTION RIGHTS AS DET
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  COOKIE                      SOFTWARE
                                  W    LICENSE AGREEMENT
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                              USE OF THIS SOFTWARE
                                              W    PROGRAM (AND ANY PATCHES AND UPDA
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                              ANY TITLES, COMPUTER CODE, THEMES, OBJECTS, CHARACTERS, CHARACTER NAMES, STORIES, DIALOG,
  CODE                        CATCH
                               A    PHRASES, LOCATIONS,
                                                A       CONCEPTS, ARTWORK, ANIMATION,
                                                                               A      SOUNDS, MUSICAL COMPOSITIONS,
                              AUDIO-VISUAL EFFECTS, METHODS OF OPERATION,
                                                                   A      MORAL RIGHTS AND ANY RELA
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                              SOFTWARE
                                  W    LICENSE AGREEMENT (THIS “AGREEMENT”). IF YOU ARE UNDER THE AGE OF MAJORITY IN
                              YOUR JURISDICTION OR EIGHTEEN (18) YEARS OF AGE, WHICHEVER IS OLDER, PLEASE ASK YOUR P
                                                                                                                   PARENT
  INTELLECTUAL
                              OR GUARDIAN TO READ AND ACCEPT THIS AGREEMENT ON YOUR BEHALF BEFORE YOU USE THE
  PROPERTY &
                              PROGRAM. BY OPENING THIS P
                                                       PACKAGE, DOWNLOADING, INST
                                                                                TALLING, AND/OR USING THE PROGRAM, YOU
  TRADEMARKS
                              ACCEPT THE TERMS OF THIS AGREEMENT BETWEEN YOU AND BUNGIE, INC. (“BUNGIE”). IF YOU DO NOT
                              AGREE TO THE TERMS OF THIS AGREEMENT,
                                                                 T YOU ARE NOT PERMITTED TO INSTALL,
                                                                                               T     COPY
                                                                                                        Y, OR USE THE
                              PROGRAM. IF YOU WISH TO REJECT THE TERMS OF THIS AGREEMENT,
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                              BUNGIE’S PRIVACY
                                          V    POLICY AVAILABLE AT http://www.bungie.net/en/View/bungie/privacy SHALL BE DEEMED TO
                              BE P
                                 PART OF THE “AGREEMENT” ACCEPTED AND AGREED TO BY YOU AND THE TERMS OF SUCH ARE
                              INCORPORATED
                                      A    HEREIN BY REFERENCE.


                              FOR RESIDENTS OUTSIDE NORTH AMERICA: IF YOU (OR, IF APPLICABLE, YOUR P
                                                                                                   PARENT OR GUARDIAN) DO
                              NOT AGREE TO THIS AGREEMENT,
                                                        T THEN YOU MUST NOT USE OR ACCESS THE PROGRAM OR ANY PART
                              THEREOF. BY “CLICKING TO ACCEPT,”
                                                            T YOU REPRESENT AND WARRANT THA
                                                                                          AT YOU ARE A “NA
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                              PERSON” WHO IS OVER THE AGE OF EIGHTEEN (18) OR WHOSE LEGAL GUARDIAN HAS ACCEPTED AND
                              AGREED TO THIS AGREEMENT. IF YOU REJECT THIS AGREEMENT,
                                                                                   T YOUR RETURN RIGHTS IN RELA
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                              THE PROGRAM ARE GOVERNED BY YOUR STA
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                              PROGRAM. NOTHING IN THIS P
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                              SERVICE.
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                                                                                                 AY NOT BE ABLE TO ACCESS
                              OR USE ADDITIONAL GAME FEATURES.
                                                       A       PLEASE REVIEW THE ADDITIONAL TERMS OF SERVICE
                                                                                                       R     AT
                              http://www.bungie.net/en/View/Bungie/terms BEFORE INSTALLING
                                                                                   T       OR USING THE PROGRAM.


                              LIMITED USE LICENSE: Bungie grants you the non-exclusive, personal, non-transferable, limited right and license to
                              install and use one copy of this Program solely for your non-commercial use. All rights not specifically granted are
                              reserved by Bungie. The Program is licensed, not sold, for your use. Your
                                                                                                   Y    license confers no title or ownership in this
                              Program, and should not be construed as a sale of any rights in this Program. This Agreement shall also apply to
                              patches or updates you may obtain for the Program, unless that patch or update is accompanied by additional terms as
                              provided in the section regarding “Changes to the Agreement” below.


                              LICENSE CONDITIONS: This license is subject to the following limitations ("License Limitations"). Any use of the
                              Program in violation of the License Limitations will result in an immediate termination of your license, and continued use
                              of the Program will be an infringement of Bungie’s copyrights in and to the Program. You
                                                                                                                   Y agree that you will not do, or
                              allow, any of the following: (1) exploit this Program or any of its parts commercially; (2) use this Program on more than
                              one computer/console at the same time; (3) copy, reproduce, distribute, display or use any part of this Program except
                              as expressly authorized by Bungie herein; (4) copy this Program onto a hard drive or other storage device unless the
                              Program itself makes a copy during installation, or unless you are downloading this Program from an authorized Bungie
                              online reseller; (5) use the Program in a network, multi-user arrangement, or remote access arrangement, including any
                              online use except as included in the Program functionality; (6) sell, rent, lease, license, distribute, or otherwise transfer
                              this Program or any copies thereof; (7) reverse engineer, derive source code, modify, decompile, disassemble, or create
                              derivative works of this Program, in whole or in part; (8) hack or modify the Program, or create, develop, modify,
                              distribute, or use any unauthorized software programs to gain advantage in any online or multiplayer game modes; (9)
                              receive or provide “boosting services,” to advance progress or achieve results that are not solely based on the account
                              holder’s gameplay, (10) remove, disable, or circumvent any proprietary notices or labels contained on or within the
                              Program; (11) export or re-export this Program in violation of any applicable laws or regulations of the United States
                              government. VIOLATION
                                              A     OF THESE LICENSE CONDITIONS BY YOU OR ANY THIRD PARTY USING YOUR
                              ACCOUNT MAY
                                       A RESUL
                                             LT IN A SUSPENSION OR BAN, IN ADDITION TO ALL OTHER REMEDIES A
                                                                                                          AV
                                                                                                           VAILABLE TO
                              BUNGIE.


                              LIVE AND TIME-LIMITED GAME ELEMENTS: Y
                                                                   Your use of the Program involves interaction with Bungie’s live game
                              environment. The Program and its live game environment change over time. Bungie does not guarantee that you will be
                              able to participate in all events or earn all in-game achievements. Access to some Live Content may require additional
                              purchase. Some in-game elements, including without limitation, Live Content associated with season passes, are made
                              available to players for a limited time. Where season pass Live Content is time-limited, Bungie will use reasonable
                              efforts
                               f      to communicate this to you within the Program or otherwise. Bungie may extend the time-limit for Live Content,
                              including season passes, at its option with or without advanced notice. Fees charged for time-limited content are based
                              on access to the applicable content during the time period indicated at the time of purchase, and apply whether or not
                              you actually access the content. Season pass rewards earned during a given season must be redeemed during that
                              season, unless Bungie elects to provide a grace period for redemption in its sole discretion.


                              OWNERSHIP: All title, ownership rights, and intellectual property rights in and to the Program and any copies thereof
                              are owned by Bungie. This Program is protected by the copyright laws of the United States, international copyright
                              treaties, and conventions and other laws. This Program contains certain licensed materials, and Bungie’s licensors may
                              protect their rights in the event of any violation of this Agreement.


                              PATCHES AND UPDA
                              PA             ATES: Bungie may deploy or provide patches, updates, and modifications to the Program that
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                              and workmanship for 90 days from the date of purchase. If the Goods are found defective within 90 days of original
                              purchase, Bungie agrees to replace, free of charge, any such defective Goods within such period, upon its receipt of the
                              Program (postage paid, with proof of the date of purchase) so long as the Goods are still being manufactured by Bungie.
                              If the Goods are no longer available, Bungie retains the right to substitute similar goods of equal or greater value. This
                              warranty is limited to the Goods, as originally provided by Bungie, and is not applicable to normal wear and tear. This
                              warranty shall not be applicable, and shall be void, if the defect has arisen through abuse, mistreatment, or neglect. Any
                              implied warranties prescribed by statute are expressly limited to the 90-day period described above. EXCEPT AS SET
                              FORTH HEREIN, THIS W
                                                 WARRANTY IS IN LIEU OF ALL OTHER WARRANTIES, EXPRESS OR IMPLIED.
                              For customers in EU and other countries: This warranty is provided without prejudice to your statutory rights as a
                              consumer which will always prevail. Bungie will only be responsible for any loss or damage you suffer
                                                                                                                               f that is a
                              foreseeable result of the breach of this Agreement by Bungie or its negligence. Nothing in this Agreement shall limit or
                              exclude our liability for death or personal injury resulting from negligence, fraudulent misrepresentation; or any other
                              liability that cannot be excluded or limited by English law. This section shall prevail over all other parts of this
                              Agreement.
                              LIMITA
                                  TATION ON DAMAGES: IN NO EVENT WILL BUNGIE BE LIABLE FOR SPECIAL, INCIDENT
                                                                                                           TAL, OR
                              CONSEQUENTIAL DAMAGES RESULTING
                                                        L     FROM POSSESSION, USE, OR MALFUNCTION OF THE PROGRAM,
                              INCLUDING DAMAGES TO PROPERTY,
                                                          Y LOSS OF GOODWILL, COMPUTER FAILURE OR MALFUNCTION AND, TO
                              THE EXTENT PERMITTED BY LAW
                                                       A , DAMAGES FOR PERSONAL INJURIES, EVEN IF BUNGIE HAS BEEN
                              ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. BUNGIE’S LIABILITY SHALL NOT EXCEED THE ACTUAL
                              PRICE P
                                    PAID FOR THE LICENSE TO USE THIS PROGRAM. SOME STA
                                                                                    TATES/COUNTRIES DO NOT ALLOW
                              LIMITA
                                  TATIONS ON HOW LONG AN IMPLIED WARRANTY LASTS AND/OR THE EXCLUSION OR LIMIT
                                                                                                            TATION OF
                              DAMAGES, SO THE ABOVE LIMITA
                                                        TATIONS AND/OR EXCLUSIONS MA
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                                                                                             LY TO YOU. THIS W
                                                                                                             WARRANTY
                              GIVES YOU SPECIFIC LEGAL RIGHTS, AND YOU MAY
                                                                        A HA
                                                                           AVE OTHER RIGHTS WHICH VAR
                                                                                                    RY FROM JURISDICTION
                              TO JURISDICTION.


                              TERMINATION:
                                    A      Without prejudice to any other rights of Bungie, this Agreement will terminate automatically if you fail to
                              comply with its terms and conditions. In such event, you must destroy all copies of this Program and all of its component
                              parts. Y
                                     You may also terminate the Agreement at any time by permanently deleting any installation of the Program, and
                              destroying all copies of the Program in your possession or control. Bungie may terminate this Agreement at any time for
                              any reason or no reason. In such event, you must destroy all copies of the Program and all of its component parts. The
                              License Limitations, limitation on damages, limited warranty, indemnity, and miscellaneous provisions shall survive
                              termination of this Agreement.


                              U.S. GOVERNMENT RESTRICTED RIGHTS: The Program has been developed entirely at private expense and are
                              provided as "Commercial Computer Software" or "restricted computer software." Use, duplication or disclosure by the
                              U.S. Government or a U.S. Government subcontractor is subject to the restrictions set forth in subparagraph (c)(1)(ii) of
                              the Rights in Technical
                                            T         Data and Computer Software clauses in DF
                                                                                             FARS 252.227-7013 or as set forth in subparagraph
                              (c)(1) and (2) of the Commercial Computer Software Restricted Rights clauses at FAR
                                                                                                              F   52.227-19, as applicable. The
                              Contractor/Manufacturer is Bungie, Inc., 550 106th Ave
                                                                                 A NE #207, Bellevue, Washington 98004.


                              INJUNCTION: Because Bungie would be irreparably damaged if the terms of this Agreement were not specifically
                              enforced, you agree that Bungie shall be entitled, without bond, other security, or proof of damages, to appropriate
                              equitable remedies with respect to breaches of this Agreement, in addition to such other remedies as Bungie may
                              otherwise have under applicable laws.


                              INDEMNITY: Y
                                         You agree to indemnify, defend, and hold Bungie, its partners, affiliates,
                                                                                                         f          licensors, contractors, offficers,
                              directors, employees, and agents harmless from all damages, losses and expenses arising directly or indirectly from
                              your breach of this Agreement and/or your acts and omissions in using the Program pursuant to the terms of this
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                              the terms and conditions of this Agreement, at any time and by any means, including, without limitation, (1) by posting
                              the modifications to http://bungie.net/sla; and/or (2) by requiring you to “click to accept” when Bungie upgrades or
                              patches the Program, and your continued use of the Program constitutes your acceptance of the modifications. The
                              changes to the Agreement will be effective
                                                                f        upon prior notice as follows: Bungie will post the revised version of this
                              Agreement on its website, may include the terms with a patch or update and require acceptance as part of the
                              installation process, or may provide such other notice as Bungie may elect in its sole discretion. If any future changes to
                              this Agreement are unacceptable to you or cause you to no longer be in compliance with this Agreement, you may
                              terminate this Agreement and receive a refund in accordance with this Agreement. Y
                                                                                                               Your installation and use of any of
                              Bungie’s updates, patches or modifications to the Program or your continued use of the Program following notice of
                              changes to this Agreement will demonstrate your acceptance of any and all such changes. If any future modifications
                              are implemented as a “click to accept” agreement, you may not be able to continue using the Program unless you
                              affirmatively
                               f            accept the modified Agreement.


                              LIVE CONTENT: “Live Content" consists of content provided to Program users (e.g., unlockable content, gear, live
                              events, activities, destinations, accounts, stats, virtual assets, virtual currencies, codes, and achievements) in
                              connection with use of the Program. While the Program may allow you to “earn”, "buy", or "purchase" Live Content
                              within or in connection with gameplay, you do not in fact own or have any property interest in the Live Content. Unless
                              otherwise specified in writing, any Live Content that you receive is licensed to you as set forth herein, and you shall have
                              no ownership right thereto. Unless specifically permitted by Bungie, you may not, sell, lend, rent, trade, or otherwise
                              transfer any Live Content. Live Content may be altered, removed, deleted, or discontinued by Bungie at any time (e.g.,
                              upon termination of this Agreement and/or cessation of online support for the Program), even if you have not “used” or
                              “consumed” the Live Content prior to alteration, removal, deletion, or discontinuation. Some Live Content, including
                              without limitation, activities, maps, and gear, may be made available to players for only a limited time. Live Content has
                              no monetary value and does not constitute property of any type.
                              Without limiting the above, Live Content may include virtual coins, points or other virtual currencies (“Virtual Currency”).
                              By purchasing or otherwise acquiring Virtual Currency, you obtain a limited license (which is revocable by Bungie at any
                              time unless otherwise required by applicable laws) to access and select from other Live Content. Virtual Currency has
                              no monetary value and does not constitute currency or property of any type. Virtual Currency may be redeemed for
                              other Live Content only, if at all. Virtual Currency cannot be sold or transferred, and cannot be exchanged for cash or for
                              any other goods and services, except for other Live Content, where applicable. Subject to applicable local law, Virtual
                              Currency is non-refundable. You
                                                          Y are not entitled to a refund or any other compensation such as Live Content for any
                              unused Virtual Currency and unused Virtual Currency is non-exchangeable.
                              There may be Live Content (should you choose to purchase it) which will require you to make a payment with real
                              money, the amount of which will be set out in the Program. Live Content purchases are non-refundable and you
                              acknowledge that this is the case and that you will have no right to change your mind and cancel (sometimes known as
                              a 'cooling off'
                                          f right) once your purchase is complete. Depending on your platform, any Live Content purchased, may be
                              purchased from your platform provider and such purchase will be subject to your platform provider’s T
                                                                                                                                  Terms of Service
                              and User Agreement. Please check usage rights for each purchase as these may differ
                                                                                                             f from item to item. Unless
                              otherwise shown, content available in any game store has the same age rating as the game.


                              For SIEA users: When accessing the Program on a Sony PlayStation® product, purchase and use of items are subject
                              to Sony’s Network T
                                                Terms of Service and User Agreement. This online service has been sublicensed to you by Sony
                              Interactive Entertainment America.


                              For SIEE users: When accessing the Program on a Sony PlayStation® product, any content purchased in an in-game
                              store will be purchased from Sony Interactive Entertainment Network Europe Limited (“SIENE”) and be subject to
                              PlayStation™Network Terms
                                                  T     of Service and User Agreement which is available on the PlayStation®Store. Please check
                              usage rights for each purchase as these may differ
                                                                            f from item to item. Unless otherwise shown, content available in any
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                              the Program (collectively, “Online Services”) or Live Content will be available at all times or at any given time or that
                              Bungie will continue to offer
                                                       f Online Services or Live Content for any particular length of time. Bungie may change and
                              update Online Services or Live Content without notice to you. Bungie makes no warranty or representation regarding the
                              availability of Online Services and reserves the right to modify or discontinue Online Services in its sole discretion
                              without notice, including for example, ceasing an Online Service for economic reasons due to a limited number of users
                              continuing to make use of the Online Service over time. NOTWITHSTANDING
                                                                                              T       ANYTHING TO THE CONTRARY
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                              ACKNOWLEDGE AND AGREE THAT
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                              BUNGIE’S SOLE DISCRETION WITHOUT NOTICE TO YOU. IN CONNECTION WITH ONLINE SERVICES’
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                              TERMINATION,
                                    A      YOUR ABILITY TO ACCESS, USE AND PLAY
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                              ENTIRETY,
                                     Y AND ANY AND ALL LIVE CONTENT LICENSED TO YOU MAY
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                                                                                                ATED. YOU ASSUME ANY
                              AND ALL RISK OF LOSS ASSOCIATED
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                                                                             ATION OF ONLINE SER
                                                                                               RVICES AND ANY LOSS OF LIVE
                              CONTENT OR OTHERWISE.


                              For residents outside North America: Subject to the next sentence, Bungie does not guarantee that any Online Services
                              or Live Content will be available or error-free at all times or at any given time. Bungie warrants that the Program, in
                              addition to any Live Content which has been paid-for with real money, will substantially comply with the description
                              provided by it at the point of purchase and be of satisfactory quality (in addition any related services provided through
                              them will be provided with reasonable care and skill). Bungie may change and update Online Services or Live Content
                              without notice to you (provided always that any such changes do not result in material degradation in the functionality of
                              the Program or any Live Content which has been paid-for with real money). Bungie makes no warranty or representation
                              regarding the availability of Online Services and/or Live Content which are free (i.e. not paid-for with real money) and
                              each reserve the right to modify or discontinue them in its sole discretion without notice to you, including for example, for
                              economic reasons due to a limited number of users continuing to make use of them over time. Bungie is not liable or
                              responsible for any failure to perform, or delay in performance of, any of its obligations that is caused by events outside
                              its reasonable control. If such circumstances result in material degradation in the functionality of the Program or Live
                              Content then your obligation to make any payment to download, use or access them will be suspended for the duration
                              of such period. Bungie is entitled to modify or discontinue Online Services and/or Live Content which are paid-for with
                              real money in its sole discretion upon reasonable notice to you. The warranty for such Online Services and/or Live
                              Content is provided in accordance with your statutory rights as a consumer which will always prevail.
                              For residents in North America-- BINDING ARBITRATION
                                                                             A     AND CLASS ACTION WAIVER:


                              READ THIS SECTION CAREFULLY
                                                       LY. IT MAY
                                                               A SIGNIFICANTL
                                                                            LY AFFECT YOUR LEGAL RIGHTS, INCLUDING YOUR
                              RIGHT TO FILE A LAWSUIT
                                               A      IN COURT.


                              These BINDING ARBITRATION
                                                  A     AND CLASS ACTION WAIVER provisions apply to you if you are domiciled in and/or
                              acquired and use the Program in the United States. These provisions may also apply to you if you are domiciled in
                              and/or acquired and use the Program from outside the United States. See JURISDICTION AND APPLICABLE LAW
                                                                                                                                   A
                              below for details.


                              Either party may initiate binding arbitration as the sole means to formally resolve claims, subject to the terms set forth
                              below. Specifically, all claims arising out of or relating to this Agreement (including its interpretation, formation,
                              performance and breach), the parties' relationship with each other and/or your use of the Program shall be finally settled
                              by binding arbitration administered by JAMS in accordance with the provisions of its Comprehensive Arbitration Rules or
                              Streamlined Arbitrations Rules, as appropriate, excluding any rules or procedures governing or permitting class actions.
                              This arbitration provision is made pursuant to a transaction involving interstate commerce, and the Federal Arbitration
                              Act (the "FAA")
                                        F     shall apply to the interpretation, applicability, enforceability and formation of this Agreement
                              notwithstanding any other choice of law provision contained in this Agreement. The arbitrator, and not any federal,
                              state, or local court or agency, shall have exclusive authority to resolve all disputes arising out of or relating to the
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                              The JAMS Rules governing the arbitration may be accessed at http://www.jamsadr.com/ or by calling JAMS at (800)
                              352-5267. Y
                                        Your arbitration fees and your share of arbitrator compensation shall be governed by the JAMS
                              Comprehensive Arbitration Rules and, to the extent applicable, the Consumer Minimum Standards, including the then-
                              current limit on arbitration filing fees. To
                                                                        T the extent the filing fee for the arbitration exceeds the cost of filing a lawsuit,
                              Bungie will pay the additional cost. The parties understand that, absent this mandatory provision, they would have the
                              right to sue in court and have a jury trial. They further understand that, in some instances, the costs of arbitration could
                              exceed the costs of litigation and the right to discovery may be more limited in arbitration than in court.


                              Location: If you are a resident of the United States, arbitration will take place at any reasonable location within the
                              United States convenient for you. For residents outside the United States, arbitration shall be initiated in King County,
                              Washington, and you agree to submit to the personal jurisdiction of any federal or state court in King County,
                              Washington, in order to compel arbitration, to stay proceedings pending arbitration, or to confirm, modify, vacate, or
                              enter judgment on the award entered by the arbitrator.


                              Class Action Waiver: The parties further agree that any arbitration shall be conducted in their individual capacities only
                              and not as a class action or other representative action, and the parties expressly waive their right to file a class action
                              or seek relief on a class basis. YOU, ON THE ONE HAND, AND BUNGIE, ON THE OTHER HAND, AGREE THAT
                                                                                                                            A
                              EACH MAY
                                    A BRING CLAIMS AGAINST THE OTHER ONL
                                                                       LY IN YOUR OR THEIR INDIVIDUAL CAP
                                                                                                        PACITY
                                                                                                             Y, AND NOT
                              AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS OR REPRESENTA
                                                                                               TATIVE PROCEEDING. If any
                              court or arbitrator determines that the class action waiver set forth in this paragraph is void or unenforceable for any
                              reason or that an arbitration can proceed on a class basis, then the arbitration provision set forth above shall be deemed
                              null and void in its entirety and the parties shall be deemed to have not agreed to arbitrate disputes.


                              Exception - Litigation of Intellectual Property and Small Claims Court Claims: Notwithstanding the parties' decision to
                              resolve all disputes through arbitration, either party may bring an action in state or federal court that only asserts claims
                              for patent infringement or invalidity, copyright infringement, moral rights violations, trademark infringement, and/or trade
                              secret misappropriation, but not, for clarity, claims related to the license granted to you for the Program under this
                              Agreement. Either party may also seek relief in a small claims court for disputes or claims within the scope of that court's
                              jurisdiction.


                              30 Day Right to Opt Out: Y
                                                       You have the right to opt-out and not be bound by the arbitration and class action waiver
                              provisions set forth in the "Binding Arbitration," "Location," and "Class Action Waiver" paragraphs above by sending
                              written notice of your decision to opt-out to the following address: Bungie, Inc., 550 106th A
                                                                                                                           Ave NE #207, Bellevue,
                              Washington 98004, Attn: Legal. The notice must be sent within 30 days of purchasing the Program (or if no purchase
                              was made, then within 30 days of the date on which you first access or use the Program and agree to these terms);
                              otherwise you shall be bound to arbitrate disputes in accordance with the terms of those paragraphs. If you opt-out of
                              these arbitration provisions, Bungie also will not be bound by them.


                              Changes to this Section: Bungie will provide 60-days’ notice of any changes to these sections regarding “BINDING
                              ARBITRATION”
                                    A      and “CLASS ACTION WAIVER.” Changes will become efffective on the 60th day and will apply
                              prospectively only to any claims arising after the 60th day.


                              MISCELLANEOUS: This Agreement is the complete agreement concerning this license between the parties and
                              supersedes all prior agreements and representations between them. If any provision of this Agreement is held to be
                              unenforceable for any reason, such provision shall be reformed only to the extent necessary to make it enforceable and
                              the remaining provisions of this Agreement shall not be affected.
                                                                                       f        To the extent permitted by applicable law: (i) this
                              Agreement shall be construed under Washington law as such law is applied to agreements between Washington
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       Destiny 2                  Companion                   Help                          Bungie                Store                     Bungie Foundation
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                       EXHIBIT B
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Limited Software License Agreement (Last updated March 6, 2020)


For all purposes, this English language version of this Agreement shall be the original,
governing instrument and understanding of the parties. In the event of any conflict between
this English language version of the Agreement and any subsequent translation into any
other language, this English language version shall govern and control.


IMPORTANT NOTICE FOR RESIDENTS IN NORTH AMERICA ONLY: THIS
AGREEMENT IS SUBJECT TO BINDING ARBITRATION
AND A WAIVER OF CLASS ACTION RIGHTS AS DETAILED BELOW.
SOFTWARE LICENSE AGREEMENT


USE OF THIS SOFTWARE PROGRAM (AND ANY PATCHES AND UPDATES),
INCLUDING BUT NOT LIMITED TO ANY TITLES, COMPUTER CODE, THEMES,
OBJECTS, CHARACTERS, CHARACTER NAMES, STORIES, DIALOG, CATCH
PHRASES, LOCATIONS, CONCEPTS, ARTWORK, ANIMATION, SOUNDS, MUSICAL
COMPOSITIONS, AUDIO-VISUAL EFFECTS, METHODS OF OPERATION, MORAL
RIGHTS AND ANY RELATED DOCUMENTATION INCORPORATED INTO THIS
SOFTWARE PROGRAM, THE ASSOCIATED MEDIA, PRINTED MATERIALS,
AND/OR ONLINE OR ELECTRONIC DOCUMENTATION (COLLECTIVELY, THE
“PROGRAM”) IS SUBJECT TO THIS SOFTWARE LICENSE AGREEMENT (THIS
“AGREEMENT”). IF YOU ARE UNDER THE AGE OF MAJORITY IN YOUR
JURISDICTION OR EIGHTEEN (18) YEARS OF AGE, WHICHEVER IS OLDER,
PLEASE ASK YOUR PARENT OR GUARDIAN TO READ AND ACCEPT THIS
AGREEMENT ON YOUR BEHALF BEFORE YOU USE THE PROGRAM. BY
OPENING THIS PACKAGE, DOWNLOADING, INSTALLING, AND/OR USING THE
PROGRAM, YOU ACCEPT THE TERMS OF THIS AGREEMENT BETWEEN YOU
AND BUNGIE, INC. (“BUNGIE”). IF YOU DO NOT AGREE TO THE TERMS OF THIS
AGREEMENT, YOU ARE NOT PERMITTED TO INSTALL, COPY, OR USE THE
PROGRAM. IF YOU WISH TO REJECT THE TERMS OF THIS AGREEMENT, YOU
MUST NOT INSTALL, COPY, OR USE THE PROGRAM.


BUNGIE’S PRIVACY POLICY AVAILABLE AT
http://www.bungie.net/en/View/bungie/privacy SHALL BE DEEMED TO BE PART OF
THE “AGREEMENT” ACCEPTED AND AGREED TO BY YOU AND THE TERMS OF
SUCH ARE INCORPORATED HEREIN BY REFERENCE.


FOR RESIDENTS OUTSIDE NORTH AMERICA: IF YOU (OR, IF APPLICABLE,
YOUR PARENT OR GUARDIAN) DO NOT AGREE TO THIS AGREEMENT, THEN
YOU MUST NOT USE OR ACCESS THE PROGRAM OR ANY PART THEREOF. BY
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“CLICKING TO ACCEPT,” YOU REPRESENT AND WARRANT THAT YOU ARE A
“NATURAL PERSON” WHO IS OVER THE AGE OF EIGHTEEN (18) OR WHOSE
LEGAL GUARDIAN HAS ACCEPTED AND AGREED TO THIS AGREEMENT. IF
YOU REJECT THIS AGREEMENT, YOUR RETURN RIGHTS IN RELATION TO THE
PROGRAM ARE GOVERNED BY YOUR STATUTORY RIGHTS IN THE COUNTRY
WHERE YOU BOUGHT THE PROGRAM. NOTHING IN THIS PARAGRAPH SHALL
AFFECT YOUR STATUTORY RIGHTS. PLEASE NOTE THAT YOUR RIGHTS IN
RESPECT OF ONLINE SERVICES AND LIVE CONTENT ARE COVERED IN
SECTIONS BELOW. YOUR USE OF THE PROGRAM SHALL BE SUBJECT TO THE
TERMS OF BUNGIE’S PRIVACY POLICY AVAILABLE AT
http://www.bungie.net/en/View/bungie/privacy.


SERVICES AND TERMS OF USE: USE OF CERTAIN FEATURES OF THE PROGRAM,
INCLUDING ONLINE OR MULTIPLAYER COMPONENTS, OR UPDATED
FEATURES, MAY REQUIRE ASSENT TO ADDITIONAL TERMS OF SERVICE. IF
YOU DO NOT ASSENT TO ADDITIONAL TERMS OF SERVICE, YOU MAY NOT BE
ABLE TO ACCESS OR USE ADDITIONAL GAME FEATURES. PLEASE REVIEW
THE ADDITIONAL TERMS OF SERVICE AT
http://www.bungie.net/en/View/Bungie/terms BEFORE INSTALLING OR USING THE
PROGRAM.


LIMITED USE LICENSE: Bungie grants you the non-exclusive, personal, non-transferable,
limited right and license to install and use one copy of this Program solely for your non-
commercial use. All rights not specifically granted are reserved by Bungie. The Program is
licensed, not sold, for your use. Your license confers no title or ownership in this Program,
and should not be construed as a sale of any rights in this Program. This Agreement shall
also apply to patches or updates you may obtain for the Program, unless that patch or update
is accompanied by additional terms as provided in the section regarding “Changes to the
Agreement” below.


LICENSE CONDITIONS: This license is subject to the following limitations ("License
Limitations"). Any use of the Program in violation of the License Limitations will result in
an immediate termination of your license, and continued use of the Program will be an
infringement of Bungie’s copyrights in and to the Program. You agree that you will not do, or
allow, any of the following: (1) exploit this Program or any of its parts commercially; (2) use
this Program on more than one computer/console at the same time; (3) copy, reproduce,
distribute, display or use any part of this Program except as expressly authorized by Bungie
herein; (4) copy this Program onto a hard drive or other storage device unless the Program
itself makes a copy during installation, or unless you are downloading this Program from an
authorized Bungie online reseller; (5) use the Program in a network, multi-user arrangement,
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or remote access arrangement, including any online use except as included in the Program
functionality; (6) sell, rent, lease, license, distribute, or otherwise transfer this Program or
any copies thereof; (7) reverse engineer, derive source code, modify, decompile, disassemble,
or create derivative works of this Program, in whole or in part; (8) hack or modify the
Program, or create, develop, modify, distribute, or use any unauthorized software programs
to gain advantage in any online or multiplayer game modes; (9) receive or provide “boosting
services,” to advance progress or achieve results that are not solely based on the account
holder’s gameplay, (10) remove, disable, or circumvent any proprietary notices or labels
contained on or within the Program; (11) export or re-export this Program in violation of any
applicable laws or regulations of the United States government. VIOLATION OF THESE
LICENSE CONDITIONS BY YOU OR ANY THIRD PARTY USING YOUR ACCOUNT
MAY RESULT IN A SUSPENSION OR BAN, IN ADDITION TO ALL OTHER
REMEDIES AVAILABLE TO BUNGIE.


LIVE AND TIME-LIMITED GAME ELEMENTS: Your use of the Program involves
interaction with Bungie’s live game environment. The Program and its live game
environment change over time. Bungie does not guarantee that you will be able to participate
in all events or earn all in-game achievements. Access to some Live Content may require
additional purchase. Some in-game elements, including without limitation, Live Content
associated with season passes, are made available to players for a limited time. Where
season pass Live Content is time-limited, Bungie will use reasonable efforts to communicate
this to you within the Program or otherwise. Bungie may extend the time-limit for Live
Content, including season passes, at its option with or without advanced notice. Fees
charged for time-limited content are based on access to the applicable content during the
time period indicated at the time of purchase, and apply whether or not you actually access
the content. Season pass rewards earned during a given season must be redeemed during that
season, unless Bungie elects to provide a grace period for redemption in its sole discretion.


OWNERSHIP: All title, ownership rights, and intellectual property rights in and to the
Program and any copies thereof are owned by Bungie. This Program is protected by the
copyright laws of the United States, international copyright treaties, and conventions and
other laws. This Program contains certain licensed materials, and Bungie’s licensors may
protect their rights in the event of any violation of this Agreement.


PATCHES AND UPDATES: Bungie may deploy or provide patches, updates, and
modifications to the Program that must be installed for you to continue to use the Program.
Bungie may update the Program remotely without notifying you, and you hereby grant to
Bungie consent to deploy and apply such patches, updates, and modifications.



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LIMITED WARRANTY: Bungie warrants to the original consumer purchaser of this
Program that the physical media on which this Program is stored and any physical
accessories (together the “Goods”) will be free from defects in material and workmanship for
90 days from the date of purchase. If the Goods are found defective within 90 days of
original purchase, Bungie agrees to replace, free of charge, any such defective Goods within
such period, upon its receipt of the Program (postage paid, with proof of the date of
purchase) so long as the Goods are still being manufactured by Bungie. If the Goods are no
longer available, Bungie retains the right to substitute similar goods of equal or greater value.
This warranty is limited to the Goods, as originally provided by Bungie, and is not applicable
to normal wear and tear. This warranty shall not be applicable, and shall be void, if the defect
has arisen through abuse, mistreatment, or neglect. Any implied warranties prescribed by
statute are expressly limited to the 90-day period described above. EXCEPT AS SET
FORTH HEREIN, THIS WARRANTY IS IN LIEU OF ALL OTHER WARRANTIES,
EXPRESS OR IMPLIED.
For customers in EU and other countries: This warranty is provided without prejudice to
your statutory rights as a consumer which will always prevail. Bungie will only be
responsible for any loss or damage you suffer that is a foreseeable result of the breach of this
Agreement by Bungie or its negligence. Nothing in this Agreement shall limit or exclude
our liability for death or personal injury resulting from negligence, fraudulent
misrepresentation; or any other liability that cannot be excluded or limited by English law.
This section shall prevail over all other parts of this Agreement.
LIMITATION ON DAMAGES: IN NO EVENT WILL BUNGIE BE LIABLE FOR
SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGES RESULTING FROM
POSSESSION, USE, OR MALFUNCTION OF THE PROGRAM, INCLUDING
DAMAGES TO PROPERTY, LOSS OF GOODWILL, COMPUTER FAILURE OR
MALFUNCTION AND, TO THE EXTENT PERMITTED BY LAW, DAMAGES FOR
PERSONAL INJURIES, EVEN IF BUNGIE HAS BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES. BUNGIE’S LIABILITY SHALL NOT EXCEED
THE ACTUAL PRICE PAID FOR THE LICENSE TO USE THIS PROGRAM. SOME
STATES/COUNTRIES DO NOT ALLOW LIMITATIONS ON HOW LONG AN IMPLIED
WARRANTY LASTS AND/OR THE EXCLUSION OR LIMITATION OF DAMAGES, SO
THE ABOVE LIMITATIONS AND/OR EXCLUSIONS MAY NOT APPLY TO YOU.
THIS WARRANTY GIVES YOU SPECIFIC LEGAL RIGHTS, AND YOU MAY HAVE
OTHER RIGHTS WHICH VARY FROM JURISDICTION TO JURISDICTION.


TERMINATION: Without prejudice to any other rights of Bungie, this Agreement will
terminate automatically if you fail to comply with its terms and conditions. In such event,
you must destroy all copies of this Program and all of its component parts. You may also
terminate the Agreement at any time by permanently deleting any installation of the
Program, and destroying all copies of the Program in your possession or control. Bungie
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may terminate this Agreement at any time for any reason or no reason. In such event, you
must destroy all copies of the Program and all of its component parts. The License
Limitations, limitation on damages, limited warranty, indemnity, and miscellaneous
provisions shall survive termination of this Agreement.


U.S. GOVERNMENT RESTRICTED RIGHTS: The Program has been developed entirely at
private expense and are provided as "Commercial Computer Software" or "restricted
computer software." Use, duplication or disclosure by the U.S. Government or a U.S.
Government subcontractor is subject to the restrictions set forth in subparagraph (c)(1)(ii) of
the Rights in Technical Data and Computer Software clauses in DFARS 252.227-7013 or as
set forth in subparagraph (c)(1) and (2) of the Commercial Computer Software Restricted
Rights clauses at FAR 52.227-19, as applicable. The Contractor/Manufacturer is Bungie,
Inc., 550 106th Ave NE #207, Bellevue, Washington 98004.


INJUNCTION: Because Bungie would be irreparably damaged if the terms of this
Agreement were not specifically enforced, you agree that Bungie shall be entitled, without
bond, other security, or proof of damages, to appropriate equitable remedies with respect to
breaches of this Agreement, in addition to such other remedies as Bungie may otherwise
have under applicable laws.


INDEMNITY: You agree to indemnify, defend, and hold Bungie, its partners, affiliates,
licensors, contractors, officers, directors, employees, and agents harmless from all damages,
losses and expenses arising directly or indirectly from your breach of this Agreement and/or
your acts and omissions in using the Program pursuant to the terms of this Agreement.


CHANGES TO THE AGREEMENT: Except for the sections regarding “BINDING
ARBITRATION” and “CLASS ACTION WAIVER” below, Bungie reserves the right, at its
sole discretion, to change, modify, add to, supplement or delete any of the terms and
conditions of this Agreement, at any time and by any means, including, without limitation,
(1) by posting the modifications to http://bungie.net/sla; and/or (2) by requiring you to “click
to accept” when Bungie upgrades or patches the Program, and your continued use of the
Program constitutes your acceptance of the modifications. The changes to the Agreement
will be effective upon prior notice as follows: Bungie will post the revised version of this
Agreement on its website, may include the terms with a patch or update and require
acceptance as part of the installation process, or may provide such other notice as Bungie
may elect in its sole discretion. If any future changes to this Agreement are unacceptable to
you or cause you to no longer be in compliance with this Agreement, you may terminate this
Agreement and receive a refund in accordance with this Agreement. Your installation and
use of any of Bungie’s updates, patches or modifications to the Program or your continued
use of the Program following notice of changes to this Agreement will demonstrate your
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acceptance of any and all such changes. If any future modifications are implemented as a
“click to accept” agreement, you may not be able to continue using the Program unless you
affirmatively accept the modified Agreement.


LIVE CONTENT: “Live Content" consists of content provided to Program users (e.g.,
unlockable content, gear, live events, activities, destinations, accounts, stats, virtual assets,
virtual currencies, codes, and achievements) in connection with use of the Program. While
the Program may allow you to “earn”, "buy", or "purchase" Live Content within or in
connection with gameplay, you do not in fact own or have any property interest in the Live
Content. Unless otherwise specified in writing, any Live Content that you receive is licensed
to you as set forth herein, and you shall have no ownership right thereto. Unless specifically
permitted by Bungie, you may not, sell, lend, rent, trade, or otherwise transfer any Live
Content. Live Content may be altered, removed, deleted, or discontinued by Bungie at any
time (e.g., upon termination of this Agreement and/or cessation of online support for the
Program), even if you have not “used” or “consumed” the Live Content prior to alteration,
removal, deletion, or discontinuation. Some Live Content, including without limitation,
activities, maps, and gear, may be made available to players for only a limited time. Live
Content has no monetary value and does not constitute property of any type.
Without limiting the above, Live Content may include virtual coins, points or other virtual
currencies (“Virtual Currency”). By purchasing or otherwise acquiring Virtual Currency, you
obtain a limited license (which is revocable by Bungie at any time unless otherwise required
by applicable laws) to access and select from other Live Content. Virtual Currency has no
monetary value and does not constitute currency or property of any type. Virtual Currency
may be redeemed for other Live Content only, if at all. Virtual Currency cannot be sold or
transferred, and cannot be exchanged for cash or for any other goods and services, except for
other Live Content, where applicable. Subject to applicable local law, Virtual Currency is
non-refundable. You are not entitled to a refund or any other compensation such as Live
Content for any unused Virtual Currency and unused Virtual Currency is non-exchangeable.
There may be Live Content (should you choose to purchase it) which will require you to
make a payment with real money, the amount of which will be set out in the Program. Live
Content purchases are non-refundable and you acknowledge that this is the case and that you
will have no right to change your mind and cancel (sometimes known as a 'cooling off' right)
once your purchase is complete. Depending on your platform, any Live Content purchased,
may be purchased from your platform provider and such purchase will be subject to your
platform provider’s Terms of Service and User Agreement. Please check usage rights for
each purchase as these may differ from item to item. Unless otherwise shown, content
available in any game store has the same age rating as the game.


For SIEA users: When accessing the Program on a Sony PlayStation® product, purchase
and use of items are subject to Sony’s Network Terms of Service and User Agreement. This
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online service has been sublicensed to you by Sony Interactive Entertainment America.


For SIEE users: When accessing the Program on a Sony PlayStation® product, any content
purchased in an in-game store will be purchased from Sony Interactive Entertainment
Network Europe Limited (“SIENE”) and be subject to PlayStation™Network Terms of
Service and User Agreement which is available on the PlayStation®Store. Please check
usage rights for each purchase as these may differ from item to item. Unless otherwise
shown, content available in any in-game store has the same age rating as the game.


AVAILABILITY:


For residents in North America: Bungie does not guarantee that any online services, play or
features associated with the Program (collectively, “Online Services”) or Live Content will
be available at all times or at any given time or that Bungie will continue to offer Online
Services or Live Content for any particular length of time. Bungie may change and update
Online Services or Live Content without notice to you. Bungie makes no warranty or
representation regarding the availability of Online Services and reserves the right to modify
or discontinue Online Services in its sole discretion without notice, including for example,
ceasing an Online Service for economic reasons due to a limited number of users continuing
to make use of the Online Service over time. NOTWITHSTANDING ANYTHING TO THE
CONTRARY, YOU ACKNOWLEDGE AND AGREE THAT ONLINE SERVICES MAY
BE TERMINATED IN WHOLE OR IN PART AT BUNGIE’S SOLE DISCRETION
WITHOUT NOTICE TO YOU. IN CONNECTION WITH ONLINE SERVICES’
TERMINATION, YOUR ABILITY TO ACCESS, USE AND PLAY THE PROGRAM
MAY BE TERMINATED IN ITS ENTIRETY, AND ANY AND ALL LIVE CONTENT
LICENSED TO YOU MAY BE TERMINATED. YOU ASSUME ANY AND ALL RISK
OF LOSS ASSOCIATED WITH THE TERMINATION OF ONLINE SERVICES AND
ANY LOSS OF LIVE CONTENT OR OTHERWISE.


For residents outside North America: Subject to the next sentence, Bungie does not
guarantee that any Online Services or Live Content will be available or error-free at all times
or at any given time. Bungie warrants that the Program, in addition to any Live Content
which has been paid-for with real money, will substantially comply with the description
provided by it at the point of purchase and be of satisfactory quality (in addition any related
services provided through them will be provided with reasonable care and skill). Bungie
may change and update Online Services or Live Content without notice to you (provided
always that any such changes do not result in material degradation in the functionality of the
Program or any Live Content which has been paid-for with real money). Bungie makes no
warranty or representation regarding the availability of Online Services and/or Live Content
which are free (i.e. not paid-for with real money) and each reserve the right to modify or
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discontinue them in its sole discretion without notice to you, including for example, for
economic reasons due to a limited number of users continuing to make use of them over
time. Bungie is not liable or responsible for any failure to perform, or delay in performance
of, any of its obligations that is caused by events outside its reasonable control. If such
circumstances result in material degradation in the functionality of the Program or Live
Content then your obligation to make any payment to download, use or access them will be
suspended for the duration of such period. Bungie is entitled to modify or discontinue Online
Services and/or Live Content which are paid-for with real money in its sole discretion upon
reasonable notice to you. The warranty for such Online Services and/or Live Content is
provided in accordance with your statutory rights as a consumer which will always prevail.
For residents in North America-- BINDING ARBITRATION AND CLASS ACTION
WAIVER:


READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.


These BINDING ARBITRATION AND CLASS ACTION WAIVER provisions apply to you
if you are domiciled in and/or acquired and use the Program in the United States. These
provisions may also apply to you if you are domiciled in and/or acquired and use the
Program from outside the United States. See JURISDICTION AND APPLICABLE LAW
below for details.


Either party may initiate binding arbitration as the sole means to formally resolve claims,
subject to the terms set forth below. Specifically, all claims arising out of or relating to this
Agreement (including its interpretation, formation, performance and breach), the parties'
relationship with each other and/or your use of the Program shall be finally settled by
binding arbitration administered by JAMS in accordance with the provisions of its
Comprehensive Arbitration Rules or Streamlined Arbitrations Rules, as appropriate,
excluding any rules or procedures governing or permitting class actions. This arbitration
provision is made pursuant to a transaction involving interstate commerce, and the Federal
Arbitration Act (the "FAA") shall apply to the interpretation, applicability, enforceability and
formation of this Agreement notwithstanding any other choice of law provision contained in
this Agreement. The arbitrator, and not any federal, state, or local court or agency, shall have
exclusive authority to resolve all disputes arising out of or relating to the interpretation,
applicability, enforceability, or formation of this Agreement, including without limitation any
claim that all or any part of this Agreement is void or voidable, or whether a claim is subject
to arbitration. The arbitrator shall be empowered to grant whatever relief would be available
in a court under law or in equity. The arbitrator's award shall be binding on the parties and
may be entered as a judgment in any court of competent jurisdiction.


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The JAMS Rules governing the arbitration may be accessed at http://www.jamsadr.com/ or
by calling JAMS at (800) 352-5267. Your arbitration fees and your share of arbitrator
compensation shall be governed by the JAMS Comprehensive Arbitration Rules and, to the
extent applicable, the Consumer Minimum Standards, including the then-current limit on
arbitration filing fees. To the extent the filing fee for the arbitration exceeds the cost of filing
a lawsuit, Bungie will pay the additional cost. The parties understand that, absent this
mandatory provision, they would have the right to sue in court and have a jury trial. They
further understand that, in some instances, the costs of arbitration could exceed the costs of
litigation and the right to discovery may be more limited in arbitration than in court.


Location: If you are a resident of the United States, arbitration will take place at any
reasonable location within the United States convenient for you. For residents outside the
United States, arbitration shall be initiated in King County, Washington, and you agree to
submit to the personal jurisdiction of any federal or state court in King County, Washington,
in order to compel arbitration, to stay proceedings pending arbitration, or to confirm, modify,
vacate, or enter judgment on the award entered by the arbitrator.


Class Action Waiver: The parties further agree that any arbitration shall be conducted in
their individual capacities only and not as a class action or other representative action, and
the parties expressly waive their right to file a class action or seek relief on a class basis.
YOU, ON THE ONE HAND, AND BUNGIE, ON THE OTHER HAND, AGREE THAT
EACH MAY BRING CLAIMS AGAINST THE OTHER ONLY IN YOUR OR THEIR
INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY
PURPORTED CLASS OR REPRESENTATIVE PROCEEDING. If any court or arbitrator
determines that the class action waiver set forth in this paragraph is void or unenforceable for
any reason or that an arbitration can proceed on a class basis, then the arbitration provision
set forth above shall be deemed null and void in its entirety and the parties shall be deemed
to have not agreed to arbitrate disputes.


Exception - Litigation of Intellectual Property and Small Claims Court Claims:
Notwithstanding the parties' decision to resolve all disputes through arbitration, either party
may bring an action in state or federal court that only asserts claims for patent infringement
or invalidity, copyright infringement, moral rights violations, trademark infringement, and/or
trade secret misappropriation, but not, for clarity, claims related to the license granted to you
for the Program under this Agreement. Either party may also seek relief in a small claims
court for disputes or claims within the scope of that court's jurisdiction.


30 Day Right to Opt Out: You have the right to opt-out and not be bound by the arbitration
and class action waiver provisions set forth in the "Binding Arbitration," "Location," and
"Class Action Waiver" paragraphs above by sending written notice of your decision to opt-
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out to the following address: Bungie, Inc., 550 106th Ave NE #207, Bellevue, Washington
98004, Attn: Legal. The notice must be sent within 30 days of purchasing the Program (or if
no purchase was made, then within 30 days of the date on which you first access or use the
Program and agree to these terms); otherwise you shall be bound to arbitrate disputes in
accordance with the terms of those paragraphs. If you opt-out of these arbitration provisions,
Bungie also will not be bound by them.


Changes to this Section: Bungie will provide 60-days’ notice of any changes to these
sections regarding “BINDING ARBITRATION” and “CLASS ACTION WAIVER.”
Changes will become effective on the 60th day and will apply prospectively only to any
claims arising after the 60th day.


MISCELLANEOUS: This Agreement is the complete agreement concerning this license
between the parties and supersedes all prior agreements and representations between them. If
any provision of this Agreement is held to be unenforceable for any reason, such provision
shall be reformed only to the extent necessary to make it enforceable and the remaining
provisions of this Agreement shall not be affected. To the extent permitted by applicable law:
(i) this Agreement shall be construed under Washington law as such law is applied to
agreements between Washington residents entered into and to be performed within
Washington, except as governed by federal law, and (ii) you consent to the exclusive
jurisdiction of the state and federal courts in King County, Washington.




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